Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14   Page 1 of 107 PageID 1145




                                                            EXHIBIT J


                                                                    APP. 145
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page1 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 2 of 107 PageID 1146




                                                                  APP. 146
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page2 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 3 of 107 PageID 1147




                                                                  APP. 147
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page3 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 4 of 107 PageID 1148




                                                                  APP. 148
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page4 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 5 of 107 PageID 1149




                                                                  APP. 149
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page5 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 6 of 107 PageID 1150




                                                                  APP. 150
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page6 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 7 of 107 PageID 1151




                                                                  APP. 151
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page7 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 8 of 107 PageID 1152




                                                                  APP. 152
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page8 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 9 of 107 PageID 1153




                                                                  APP. 153
          Case3:11-cv-00189-RS Document1 Filed01/12/11 Page9 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 10 of 107 PageID 1154




                                                                   APP. 154
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page10 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 11 of 107 PageID 1155




                                                                   APP. 155
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page11 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 12 of 107 PageID 1156




                                                                   APP. 156
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page12 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 13 of 107 PageID 1157




                                                                   APP. 157
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page13 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 14 of 107 PageID 1158




                                                                   APP. 158
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page14 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 15 of 107 PageID 1159




                                                                   APP. 159
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page15 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 16 of 107 PageID 1160




                                                                   APP. 160
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page16 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 17 of 107 PageID 1161




                                                                   APP. 161
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page17 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 18 of 107 PageID 1162




                                                                   APP. 162
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page18 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 19 of 107 PageID 1163




                                                                   APP. 163
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page19 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 20 of 107 PageID 1164




                                                                   APP. 164
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page20 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 21 of 107 PageID 1165




                                                                   APP. 165
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page21 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 22 of 107 PageID 1166




                                                                   APP. 166
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page22 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 23 of 107 PageID 1167




                                                                   APP. 167
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page23 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 24 of 107 PageID 1168




                                                                   APP. 168
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page24 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 25 of 107 PageID 1169




                                                                   APP. 169
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page25 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 26 of 107 PageID 1170




                                                                   APP. 170
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page26 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 27 of 107 PageID 1171




                                                                   APP. 171
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page27 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 28 of 107 PageID 1172




                                                                   APP. 172
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page28 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 29 of 107 PageID 1173




                                                                   APP. 173
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page29 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 30 of 107 PageID 1174




                                                                   APP. 174
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page30 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 31 of 107 PageID 1175




                                                                   APP. 175
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page31 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 32 of 107 PageID 1176




                                                                   APP. 176
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page32 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 33 of 107 PageID 1177




                                                                   APP. 177
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page33 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 34 of 107 PageID 1178




                                                                   APP. 178
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page34 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 35 of 107 PageID 1179




                                                                   APP. 179
         Case3:11-cv-00189-RS Document1 Filed01/12/11 Page35 of 35
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 36 of 107 PageID 1180




                                                                   APP. 180
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14   Page 37 of 107 PageID 1181




                                                            EXHIBIT K


                                                                     APP. 181
  Case 2:10-cv-00490-JRG Document 1 Filed 11/15/10 Page 1 of 7 PageID #: 1
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 38 of 107 PageID 1182


                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

VERTICAL COMPUTER SYSTEMS, INC.,                     §
                                                     §
               Plaintiff,                            §
                                                     § Civil Action No. 2:10-cv-490
       v.                                            §
                                                     § JURY TRIAL DEMANDED
INTERWOVEN, INC.,                                    §
LG ELECTRONICS MOBILECOMM                            §
U.S.A., INC., LG ELECTRONICS                         §
INC., SAMSUNG ELECTRONICS CO.,                       §
LTD., SAMSUNG ELECTRONICS                            §
AMERICA, INC.,                                       §
                                                     §
               Defendants.                           §

                                          COMPLAINT

       Plaintiff, Vertical Computer Systems, Inc. ("Vertical") brings this action against

Defendant Interwoven, Inc. ("Interwoven"), LG Electronics MobileComm U.S.A., INC., LG

Electronics Inc., Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc.

(collectively, "defendants"), alleging as follows:

                                            PARTIES

       1.      Plaintiff Vertical is a Delaware corporation with a principal place of business in

Richardson, Texas.

       2.      Defendant Interwoven is a Delaware corporation and has its principal place of

business at 160 East Tasman Drive, San Jose, California. Interwoven is doing business in this

judicial district and may be served with process through its Registered Agent, Dona Niemeyer

located at 2730 Gateway Oaks Drive, Suite 100, Sacramento, California 95833-3503.

       3.      Defendant LG Electronics MobileComm U.S.A., Inc. is a California corporation

and has its principal place of business at 1000 Sylvan Avenue, Englewood Cliffs, NJ 07632. LG




                                                                                      APP. 182
  Case 2:10-cv-00490-JRG Document 1 Filed 11/15/10 Page 2 of 7 PageID #: 2
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 39 of 107 PageID 1183


Electronics MobileComm U.S.A., Inc. is doing business in this judicial district and may be

served with process through its Registered Agent, Alan K. Tse, 10101 Old Grove Road, San

Diego, CA 92131.

       4.      LG Electronics Inc. is a corporation organized under the laws of the Republic of

Korea and has its principal place of business at LG Twin Towers 20, Yeouido dong,

Yeongdeungpo-gu, Seoul, Republic of Korea 150-721.

       5.      Samsung Electronics America, Inc. is a New York corporation and has its

principal place of business at 85 Challenger Road, Ridgefield Park, NJ 07660. Samsung is

doing business in this judicial district and may be served with process through its Registered

Agent, CT Corporation System, 111 Eighth Avenue, New York, NY 10011.

       6.      Samsung Electronics Co., Ltd. is a corporation organized under the laws of the

Republic of Korea and has its principal place of business at 1320-10, Seocho 2-dong, Seocho-gu,

Seoul 137-857, Republic of Korea.

                                JURSIDICTION AND VENUE

       7.      Vertical's patent infringement action arises under the patent laws of the United

States, including 35 U.S.C. §§ 271 and 281. This Court has exclusive subject matter jurisdiction

over this civil action under 28 U.S.C. § 1338(a).

       8.      Interwoven has minimum contacts with the Marshall Division of the Eastern

District of Texas such that this venue is a fair and reasonable one. Interwoven has committed

such purposeful acts and/or transactions in Texas that it reasonably knew and expected would

result in it being brought into a Texas court as a consequence of its business activities. For these

reasons, venue is proper in this Court under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C. §

1400(b).




                                                 2
                                                                                         APP. 183
  Case 2:10-cv-00490-JRG Document 1 Filed 11/15/10 Page 3 of 7 PageID #: 3
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 40 of 107 PageID 1184


       9.       LG Electronics MobileComm U.S.A., Inc. and LG Electronics Inc. (collectively,

"LG") have minimum contacts with the Marshall Division of the Eastern District of Texas such

that this venue is a fair and reasonable one. LG has committed such purposeful acts and/or

transactions in Texas that it reasonably knew and expected would result in it being brought into a

Texas court as a consequence of its business activities. For these reasons, venue is proper in this

Court under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C. § 1400(b).

       10.      Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc.

(collectively, "Samsung") have minimum contacts with the Marshall Division of the Eastern

District of Texas such that this venue is a fair and reasonable one. Samsung has committed such

purposeful acts and/or transactions in Texas that it reasonably knew and expected would result in

it being brought into a Texas court as a consequence of its business activities. For these reasons,

venue is proper in this Court under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C. § 1400(b).

                                 PATENT INFRINGEMENT

       11.      On November 30, 2004, United States Patent No. 6,826,744 (the “‘744 patent”)

was duly and legally issued for a “System and Method for Generating Web Sites in an Arbitrary

Object Framework.”

       12.      On May 11, 2010, United States Patent No. 7,716,629 (the “‘629 patent”) was

duly and legally issued for a “System and Method for Generating Web Sites in an Arbitrary

Object Framework.”

       13.      Vertical is the owner of the ‘744 and '629 patents and has standing to sue for

infringement.

       14.      Interwoven manufactures, has made, uses, sells and/or offers for sale software

such as the Interwoven TeamSite 2006 product that, when used, is covered by at least claims 1-




                                                3
                                                                                        APP. 184
  Case 2:10-cv-00490-JRG Document 1 Filed 11/15/10 Page 4 of 7 PageID #: 4
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 41 of 107 PageID 1185


11, 18-19, 21, 23-33, 40-41 and 45-53 of the ‘744 patent and 1-6, 8-17, 19-26 and 28-32 of the

'629 patent. Interwoven has also induced others to infringe and/or has contributorily infringed

those claims of the ‘744 and '629 patents.

       15.     Defendants LG and Samsung manufacture, have made, use, import, sell and/or

offer for sale cellular telephones covered by at least one claim of each of the '744 and '629

patents. Defendants LG and Samsung have also infringed and continue to infringe the '744 and

'629 patents by actively inducing others to infringe with specific intent and by contributing to the

infringement by others by the use, sale and/or offer for sale of the infringing cellular telephones.

The infringement that has occurred is at least one of the following claims through

commercialization of at least the following model phones:

                  Claims of               Claims of
                 '744 Patent             '629 Patent                     Model Nos.
LG             1,3,4,5,9,17,21,       1,4,8,10,12,21,24,   Ally™ VS740
               23,25                  28,30,32
Samsung        1,3,4,5,9,17,21,       1,4,8,10,12,21,24,   Galaxy Tab™ Tablet Computer
               23,25                  28,30,32             Galaxy Captivate™ Android Phone
                                                           Galaxy Fascinate™ Android Phone
                                                           Galaxy Epic™ Android Phone
                                                           Samsung Galaxy Mesmerize™
                                                           i500 Touch Screen Cell Phone


                                       STATUTORY NOTICE

       16.     Vertical has placed the required statutory notice on all software products sold by

it under the '744 and '629 patents.

                                  WILLFUL INFRINGEMENT

       17.     Vertical has given written notice to Interwoven of the ‘744 patent by a letter dated

January 12, 2009 and since that time, Interwoven has been willfully infringing the '744 patent.




                                                    4
                                                                                         APP. 185
  Case 2:10-cv-00490-JRG Document 1 Filed 11/15/10 Page 5 of 7 PageID #: 5
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 42 of 107 PageID 1186


       18.     In a meeting between Interwoven and Vertical personnel held on March 5, 2009

in San Jose, California, Interwoven intentionally concealed its infringement of the '744 patent.

       19.     Vertical has given written notice to Interwoven of the '629 patent by a letter dated

August 12, 2010 and since that time, Interwoven has been willfully infringing the '629 patent.

       20.     Interwoven again mislead Vertical into believing that it would attempt to resolve

any patent infringement claim by Vertical by negotiating in good faith, but it obtained an

extension of time under the pretext of studying the issues presented by Vertical to prepare a

lawsuit against Vertical.

                                            RELIEF

       21.     Vertical has been damaged as a result of Interwoven's, LG's and Samsung's

infringing conduct and LG, Samsung and Interwoven are, thus, liable to Vertical in an amount

that adequately compensates Vertical for LG's, Samsung's and Interwoven’s infringement,

which, by law, cannot be less than a reasonable royalty for each of these three defendants.

       22.     LG, Samsung and Interwoven will continue their infringement of the ‘744 and

'629 patents unless enjoined by the Court. LG's, Samsung's and Interwoven’s infringing conduct

causes Vertical irreparable harm and will continue to cause such harm without the issuance of an

injunction.

                                        JURY DEMAND

       23.     Vertical hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of

Civil Procedure.

                                    PRAYER FOR RELIEF

       Vertical respectfully requests that the Court find in its favor and against LG, Samsung

and Interwoven and that the Court grant Vertical the following relief:




                                                5
                                                                                        APP. 186
  Case 2:10-cv-00490-JRG Document 1 Filed 11/15/10 Page 6 of 7 PageID #: 6
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 43 of 107 PageID 1187


           a.    Judgment that one or more claims of United States Patent No.

                 6,826,744 and United States Patent No. 7,716,629 have been

                 infringed, either literally and/or under the doctrine of equivalents,

                 by LG, Samsung and Interwoven and/or by others to whose

                 infringement LG, Samsung and Interwoven have contributed

                 and/or by others whose infringement has been induced by LG,

                 Samsung and Interwoven;

           b.    Judgment that Interwoven, LG and Samsung account for and pay

                 to Vertical all damages to and costs incurred by Vertical because

                 of Interwoven, LG and Samsung’s infringing activities and other

                 conduct complained of herein;

           c.    That Vertical be granted pre-judgment and post-judgment interest

                 on the damages caused to it by reason of Interwoven’s infringing

                 activities and other conduct complained of herein;

           d.    That this Court declare this an exceptional case and award Vertical

                 its reasonable attorneys’ fees and costs in accordance with 28

                 U.S.C. § 285;

           e.    That Interwoven’s infringement be found willful and that the Court

                 award increased damages of three times the actual damages

                 awarded;

           f.    That Interwoven, LG and Samsung be permanently enjoined from

                 any further activity or conduct that infringes any claims of United




                                           6
                                                                                  APP. 187
  Case 2:10-cv-00490-JRG Document 1 Filed 11/15/10 Page 7 of 7 PageID #: 7
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 44 of 107 PageID 1188


                   States Patent No. 6,824,744 and United States Patent No.

                   7,716,629; and

             g.    That Vertical be granted such other and further relief as the Court

                   or jury may deem just and proper under the circumstances.



                                         Respectfully submitted,


Dated: November 15, 2010                 VERTICAL COMPUTER SYSTEMS, INC.

                                         /s/ Lu Pham
                                         Lu Pham
                                         State Bar No. 15895430
                                         Lynn Pham & Ross, LLP
                                         306 W. Broadway Avenue
                                         Fort Worth, Texas 76104
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                                         ATTORNEY FOR PLAINTIFF
                                         VERTICAL COMPUTER SYSTEMS, INC.




                                            7
                                                                                  APP. 188
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14   Page 45 of 107 PageID 1189




                                                            EXHIBIT L


                                                                     APP. 189
 Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 1 of 23 PageID #: 772
 Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 46 of 107 PageID 1190


                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

VERTICAL COMPUTER SYSTEMS, INC.,                §
                                                §
                            Plaintiff,          §
                                                §
                v.                              §     CIVIL ACTION NO. 2:10-CV-490 TJW
                                                §
INTERWOVEN, INC., LG ELECTRONICS                §
MOBILECOMM U.S.A., INC., LG                     §
ELECTRONICS INC., SAMSUNG                       §
ELECTRONICS CO., LTD., SAMSUNG                  §
ELECTRONICS AMERICA, INC.,                      §
                                                §
                            Defendants.         §
                                                §


          DEFENDANTS SAMSUNG ELECTRONICS CO. LTD, AND SAMSUNG
                       ELECTRONICS AMERICA, INC.’S
            ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS


               Defendants Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc.

 (collectively “Samsung”) respond to the Complaint of Plaintiff Vertical Computer Systems, Inc.

 (“Vertical”) as follows:

                                             PARTIES

                1.      Samsung lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in Paragraph 1 of the Complaint, and therefore denies them.

                2.      Paragraph 2 does not require a response by Samsung. To the extent a

 response is deemed required, Samsung lacks knowledge or information sufficient to form a belief

 as to the truth of the allegations contained in Paragraph 2 of the Complaint, and therefore denies

 them.




                                                                                         APP. 190
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 2 of 23 PageID #: 773
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 47 of 107 PageID 1191


               3.      Paragraph 3 does not require a response by Samsung. To the extent a

response is deemed required, Samsung lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 3 of the Complaint, and therefore denies

them.

               4.      Paragraph 4 does not require a response by Samsung. To the extent a

response is deemed required, Samsung lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 4 of the Complaint, and therefore denies

them.

               5.      Samsung denies the allegations contained in Paragraph 5 of the

Complaint, except to admit that Samsung Electronics America, Inc. is a New York corporation

and has its principal place of business at 85 Challenger Road, Ridgefield Park, NJ 07660.

               6.      Samsung admits the allegations contained in Paragraph 6 of the

Complaint.

                                JURISDICTION AND VENUE

               7.      Samsung denies the allegations contained in Paragraph 7 of the

Complaint, except to admit that this action purports to state claims of patent infringement that

arise under the patent laws of the United States, 35 U.S.C. §§ 101 et seq.

               8.      Paragraph 8 does not require a response by Samsung. To the extent a

response is deemed required, Samsung lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 8 of the Complaint, and therefore denies

them.

               9.      Paragraph 9 does not require a response by Samsung. To the extent a

response is deemed required, Samsung lacks knowledge or information sufficient to form a belief



                                                 2
                                                                                        APP. 191
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 3 of 23 PageID #: 774
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 48 of 107 PageID 1192


as to the truth of the allegations contained in Paragraph 9 of the Complaint, and therefore denies

them.

               10.     Samsung denies the allegations of Paragraph 10, except to admit that

Vertical alleges that venue is proper in this court under 28 U.S.C. § 1391(b) and (c), and 28

U.S.C. § 1400(b).

                          PURPORTED PATENT INFRINGEMENT

               11.     Samsung denies the allegations of Paragraph 11 of the Complaint, except

to admit that U.S. Patent No. 6,826,744 (“the ‘744 patent”) states on its face that it is entitled

“System and Method for Generating Web Sites in an Arbitrary Object Framework,” and that it

was issued on November 30, 2004.

               12.     Samsung denies the allegations of Paragraph 12 of the Complaint, except

to admit that U.S. Patent No. 7,716,629 (“the ‘629 patent”) states on its face that it is entitled

“System and Method for Generating Web Sites in an Arbitrary Object Framework,” and that it

was issued on May 11, 2010.

               13.     Samsung lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 13 of the Complaint, and therefore denies

them.

               14.     Paragraph 14 does not require a response by Samsung. To the extent a

response is deemed required, Samsung lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 14 of the Complaint, and therefore denies

them.

               15.     Samsung denies the allegations in Paragraph 15 of the Complaint.




                                                  3
                                                                                           APP. 192
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 4 of 23 PageID #: 775
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 49 of 107 PageID 1193


                            PURPORTED STATUTORY NOTICE

               16.    Samsung lacks knowledge or information sufficient to form a belief as to

the truth of the allegations contained in Paragraph 16 of the Complaint, and therefore denies

them.

                        PURPORTED WILLFUL INFRINGEMENT

               17.    Paragraph 17 does not require a response by Samsung. To the extent a

response is deemed required, Samsung lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 17 of the Complaint, and therefore denies

them.

               18.    Paragraph 18 does not require a response by Samsung. To the extent a

response is deemed required, Samsung lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 18 of the Complaint, and therefore denies

them.

               19.    Paragraph 19 does not require a response by Samsung. To the extent a

response is deemed required, Samsung lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 19 of the Complaint, and therefore denies

them.

               20.    Paragraph 20 does not require a response by Samsung. To the extent a

response is deemed required, Samsung lacks knowledge or information sufficient to form a belief

as to the truth of the allegations contained in Paragraph 20 of the Complaint, and therefore denies

them.




                                                4
                                                                                        APP. 193
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 5 of 23 PageID #: 776
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 50 of 107 PageID 1194


                                      PURPORTED RELIEF

                21.     Samsung denies the allegations of Paragraph 21 of the Complaint

concerning Samsung. Samsung lacks knowledge or information sufficient to form a belief as to

the truth of the remaining allegations contained in Paragraph 21 of the Complaint, and therefore

denies them.

                22.     Samsung denies the allegations of Paragraph 22 of the Complaint

concerning Samsung. Samsung lacks knowledge or information sufficient to form a belief as to

the truth of the remaining allegations contained in Paragraph 22 of the Complaint, and therefore

denies them.

                                         JURY DEMAND

                23.     To the extent that a response is required, Samsung admits that Vertical’s

Complaint contains a request for a jury trial.

                      DENIAL OF VERTICAL’S PRAYER FOR RELIEF

                24.     Samsung requests that the Court deny Vertical all relief requested by

Vertical in its Prayer for Relief.

                                     AFFIRMATIVE DEFENSES

                25.     Samsung asserts the defenses set out below, and expressly reserves the

right to amend their Answer with additional defenses.

                               FIRST AFFIRMATIVE DEFENSE
                                   (Failure to State a Claim)

                26.     Vertical’s Complaint fails to state a claim upon which relief can be

granted.




                                                  5
                                                                                         APP. 194
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 6 of 23 PageID #: 777
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 51 of 107 PageID 1195


                             SECOND AFFIRMATIVE DEFENSE
                                   (Non-Infringement)

               27.     Samsung does not infringe and has not infringed, either directly,

indirectly, contributorily, or by inducement, any claim of the ‘744 or ‘629 patents (collectively,

the “Asserted Patents”), either literally or under the doctrine of equivalents, willfully or

otherwise.

                              THIRD AFFIRMATIVE DEFENSE
                                       (Invalidity)

               28.     The claims of the Asserted Patents are invalid for failure to comply with

one or more requirements of the Patent Laws of the United States, 35 U.S.C. § 100 et seq.,

including without limitation §§ 102, 103 and 112.

                             FOURTH AFFIRMATIVE DEFENSE
                               (Claim Construction Estoppel)

               29.     Vertical is estopped from construing the claims of the Asserted Patents to

cover any Samsung product because representations, omissions, and/or concessions made during

prosecution of the Asserted Patents, and/or related U.S. or foreign patents and patent

applications, limit the scope of the claims of the Asserted Patents.

                               FIFTH AFFIRMATIVE DEFENSE
                                 (Prosecution History Estoppel)

               30.     Prosecution history and/or estoppel bars Vertical from asserting

infringement of claims of the Asserted Patents under the Doctrine of Equivalents because of

statements and amendments made during prosecution of the Asserted Patents.




                                                  6
                                                                                           APP. 195
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 7 of 23 PageID #: 778
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 52 of 107 PageID 1196


                             SIXTH AFFIRMATIVE DEFENSE
                                  (Governmental Uses)

              31.     Vertical’s claims for relief and prayer for damages are limited by 28

U.S.C. § 1498(a).

                           SEVENTH AFFIRMATIVE DEFENSE
                                  (Lack of Standing)

              32.     On information and belief, Vertical lacks standing to bring this action.

                            EIGHTH AFFIRMATIVE DEFENSE
                          (Laches, Waiver, Acquiescence, Estoppel)

              33.     Upon information and belief, laches, waiver, acquiescence, and/or

estoppel bar Vertical’s remedies under the Asserted Patents.

                             NINTH AFFIRMATIVE DEFENSE
                                       (Notice)

              34.     Upon information and belief, Vertical’s claims for relief and alleged

damages and limited by 35 U.S.C. § 287.

                            TENTH AFFIRMATIVE DEFENSE
                                 (Inequitable Conduct)

              35.     The Asserted Patents are unenforceable due to inequitable conduct as set

forth in Paragraphs 51-109 below, which are incorporated by reference as though fully set forth

herein.

                             SAMSUNG’S COUNTERCLAIMS

              36.     Defendant/Counterclaim-Plaintiff Samsung brings the following

counterclaims against Plaintiff/Counterclaim-Defendant Vertical.




                                                7
                                                                                        APP. 196
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 8 of 23 PageID #: 779
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 53 of 107 PageID 1197


                                              PARTIES

               37.     Samsung Electronics Co., Ltd. is a corporation organized under the laws

of the Republic of Korea and has its principal place of business at 1320-10, Seocho 2-dong,

Seocho-gu, Seoul 137-857, Republic of Korea.

               38.     Samsung Electronics America, Inc. is a New York corporation and has its

principal place of business at 85 Challenger Road, Ridgefield Park, NJ 07660.

               39.     Upon information and belief, Vertical is a Delaware corporation with a

principal place of business in Richardson, Texas.

                                    JURISDICTION AND VENUE

               40.     This Court has subject-matter jurisdiction over Samsung’s patent

counterclaims, which arise under the patent laws of the United States pursuant to 28 U.S.C. §§

1331, 1338, 2201, and 2202.

               41.     This Court has personal jurisdiction over Vertical, at least because

Vertical purportedly has its primary place of business in this district, and filed its claims for

patent infringement in this Court, in response to which these counterclaims are filed.

               42.     Venue lies in this judicial district pursuant to 28 U.S.C. §§ 1391 and 1400.

Venue also lies in this district because Vertical has consented to the propriety of venue in this

district by filing its claims for patent infringement in this district, in response to which these

counterclaims are filed.

          COUNT I (DECLARATORY JUDGMENT OF NON-INFRINGEMENT)

               43.     Samsung realleges and incorporates by reference Paragraphs 36-42 above

as though fully set forth herein.




                                                   8
                                                                                            APP. 197
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 9 of 23 PageID #: 780
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 54 of 107 PageID 1198


                44.     An actual and justiciable controversy exists between Samsung and

Vertical with respect to the Asserted Patents because Vertical has brought this action against

Samsung alleging that Samsung infringes the Asserted Patents, which Samsung denies. Absent

a declaration of non-infringement, Vertical will continue to wrongfully assert the Asserted

Patents against Samsung, and thereby cause Samsung irreparable injury and damage.

                45.     Samsung has not infringed, and does not infringe, the Asserted Patents,

either directly or indirectly, literally or under the doctrine of equivalents, willfully, or otherwise,

and Samsung is entitled to a declaration to that effect.

               COUNT II (DECLARATORY JUDGMENT OF INVALIDITY)

                46.     Samsung realleges and incorporates by reference Paragraphs 36-45 above

as though fully set forth herein.

                47.     An actual and justiciable controversy exists between Samsung and

Vertical with respect to the Asserted Patents because Vertical has brought this action against

Samsung alleging that the Asserted Patents are valid, which Samsung denies. Absent a

declaration of invalidity, Vertical will continue to wrongfully assert the Asserted Patents against

Samsung, and thereby cause Samsung irreparable injury and damage.

                48.     The Asserted Patents are invalid for failure to comply with the

requirements of 35 U.S.C. § 100 et seq., including but not limited to, §§ 102, 103, and 112, and

Samsung is entitled to a declaration to that effect.

         COUNT III (DECLARATORY JUDGMENT OF UNENFORCEABILITY)

                49.     Samsung realleges and incorporates by reference Paragraphs 36-48 above

as though fully set forth herein.




                                                   9
                                                                                            APP. 198
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 10 of 23 PageID #: 781
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 55 of 107 PageID 1199


               50.    An actual and justiciable controversy exists between Samsung and

Vertical with respect to the enforceability of the Asserted Patents because Vertical has brought

this action against Samsung alleging that the Asserted Patents are enforceable, which allegation

Samsung denies. Absent a declaration of unenforceability, Vertical will continue to wrongfully

assert the Asserted Patents against Samsung, and thereby cause Samsung irreparable injury and

damage.

                                        The ‘744 Patent

               51.    The claims of the ‘744 patent are unenforceable as a result of inequitable

conduct before the United States Patent and Trademark Office (“PTO”). One or more of the

people substantively involved in the prosecution of the application leading to the ‘744 patent,

including inventor Aubrey McAuley, were aware of information material to the patentability of

the ‘744 patent, but withheld that information from the PTO with the intent to deceive, and made

false and misleading statements to the PTO during the prosecution of the ‘744 patent, as set forth

herein.

               52.    Aubrey McAuley, the named inventor of the ‘744 patent, was a founder

and president of Adhesive Media, Inc. (“Adhesive”).

               53.    On information and belief, Adhesive offered for sale and sold software

products and/or services based on its “WebOS” technology more than one year before October 1,

1999, the filing date of the application leading to the ‘744 patent. Those software products

and/or services included Adhesive’s “NewsFlash” product, as well as a number of websites that

Adhesive designed for particular customers, purportedly using Adhesive’s WebOS technology.

               54.    On information and belief, Adhesive also published information relating to

its software products and/or services based on its WebOS technology more than one year before



                                                10
                                                                                        APP. 199
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 11 of 23 PageID #: 782
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 56 of 107 PageID 1200


October 1, 1999. For example, more than one year before October 1, 1999, Adhesive posted on

the Internet a diagram of the Web Object Management Facility of its WebOS technology, which

is attached hereto as Exhibit A.

                55.     Exhibit A is nearly identical to Figure 5 of the ‘744 patent.

                56.     The specification of the ‘744 patent describes Figure 5 as an alleged

embodiment of “the present invention.” See ‘744 patent at 5:3-17.

                57.     Therefore, Adhesive’s commercial offer for sale and sale of products and

services based on its WebOS technology, and Adhesive’s publication of information relating to

its WebOS technology, all of which occurred more than one year before October 1, 1999,

constitute material prior art.

                58.     Upon information and belief, prior to issuance of the ‘744 patent, Mr.

McAuley had knowledge of Adhesive’s offer for sale and sale of its WebOS technology and

Adhesive’s publication of information relating to its WebOS technology.

                59.     None of the persons involved in the prosecution of the ‘744 patent,

including but not limited to Mr. McAuley, disclosed to the PTO Adhesive’s offer for sale or sale

of its WebOS technology or the publication of information relating to its WebOS technology.

                60.     Information regarding Adhesive’s offer for sale and sale of WebOS

technology, and publications relating thereto, was withheld from the PTO with intent to deceive.

                61.     This withholding of information material to patentability with intent to

deceive the PTO constitutes inequitable conduct, which renders the ‘744 patent unenforceable.

                                          The ‘629 Patent

                62.     The claims of the ‘629 patent are unenforceable as a result of inequitable

conduct before the PTO. On information and belief, one or more of the people substantively



                                                 11
                                                                                         APP. 200
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 12 of 23 PageID #: 783
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 57 of 107 PageID 1201


involved in the prosecution of the application leading to the ‘629 patent, including inventor

Aubrey McAuley and patent agent Jack D. Stone Jr., were aware of information material to the

patentability of the ‘629 patent, but withheld that information from the PTO with the intent to

deceive, and made false and misleading statements to the PTO during the prosecution of the ‘629

patent, as set forth herein.

                63.     During the prosecution of the ‘629 patent, Vertical initiated a patent

infringement suit against Microsoft Corporation in the Eastern District of Texas, Civil Action

No. 2:07-CV-144 (“the Microsoft litigation”), alleging infringement of the ‘744 patent.

                64.     During the course of the Microsoft litigation, material information

regarding the patentability of the ‘744 patent was disclosed by Microsoft to Vertical and

Vertical’s attorneys. For example, Microsoft raised inequitable conduct allegations regarding

the ‘744 patent in its Answer to Vertical’s complaint, Microsoft served invalidity contentions

explaining how numerous prior art references anticipated and/or rendered obvious the claims of

the ‘744 patent, Microsoft produced copies of the underlying prior art references, and Microsoft

filed a claim construction brief arguing that numerous claims of the ‘744 patent were invalid

under 35 U.S.C. § 112. However, this material information was not properly disclosed to the

PTO during the prosecution of the ‘629 patent.

                65.     Because the application leading to the ‘629 patent is a continuation of the

‘744 patent, and because the claims and specifications of the ‘629 and ‘744 patents are

substantially similar, Microsoft’s inequitable conduct allegations, invalidity contentions and

arguments, and the invalidating prior art references it produced in the Microsoft litigation are

also material to the patentability of the ‘629 patent.




                                                  12
                                                                                          APP. 201
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 13 of 23 PageID #: 784
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 58 of 107 PageID 1202


                          Microsoft’s Inequitable Conduct Allegations

               66.     On July 13, 2007, Microsoft filed its Answer, Affirmative Defenses, and

Counterclaims (“Microsoft’s Answer”) in the Microsoft litigation. Microsoft alleged that the

‘744 patent was unenforceable due to the inequitable conduct of Mr. McAuley in failing to

disclose material information to the PTO. In particular, Microsoft alleged that Mr. McAuley,

with intent to deceive, failed to disclose Adhesive’s offer for sale and sale of products and

services based on Adhesive’s WebOS technology, and publications relating thereto, more than

one year prior to October 1, 1999.

               67.     Microsoft’s inequitable conduct allegations disclose critical information

expressly challenging the validity and enforceability of the related ‘744 patent.

               68.     None of the persons involved in the prosecution of the ‘629 patent,

including Mr. McAuley and Mr. Stone, disclosed to the PTO either Microsoft’s Answer or the

existence or substance of Microsoft’s inequitable conduct allegations.

               69.     Further, during prosecution of the ‘629 patent, the applicants disclosed

certain prior art documents relating to Adhesive’s prior art WebOS technology relied on by

Microsoft during the Microsoft litigation, but failed to disclose the critical facts that Mr.

McAuley was the founder and president of Adhesive and other information indicating that the

WebOS technology qualified as prior art under 35 U.S.C. § 102(b).

               70.     The knowledge that Mr. McAuley is both a named inventor of the ‘629

patent and the founder and president of Adhesive, as well as the date of the WebOS materials, is

essential for the PTO to fully understand the relevance and applicability of Adhesive’s prior art

WebOS technology.

               71.     During prosecution of the ‘629 patent, the applicants selectively disclosed

to the PTO only certain information and prior art materials from the Microsoft litigation.


                                                  13
                                                                                           APP. 202
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 14 of 23 PageID #: 785
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 59 of 107 PageID 1203


                  72.   The selective disclosure to the PTO of information arising out of the

Microsoft litigation demonstrates that Mr. McAuley and Mr. Stone were aware of the Microsoft

litigation and the existence of material regarding the patentability of the ‘629 patent information

arising out of that litigation.

                  73.   This selective disclosure to the PTO also demonstrates that Mr. McAuley

and Mr. Stone made a deliberate decision to withhold material information from the PTO, and

thus demonstrates an intent to deceive.

                  74.   The withholding of information material to patentability with intent to

deceive constitutes inequitable conduct, which renders the ‘629 patent unenforceable.

               Microsoft’s Invalidity Contentions and Claim Construction Brief

                  75.   On January 18, 2008, Microsoft served its Invalidity Contentions in the

Microsoft litigation.

                  76.   Microsoft’s Invalidity Contentions identified 58 prior art references that

anticipated and/or rendered obvious claims 1-5, 9, 11, 17-19, 21, 23, 25-29, 33, 39-41, 43, 45,

and 47-48 of the ‘744 patent and provided over 50 pages of narrative analysis of how the

identified prior art anticipated and/or rendered obvious the asserted claims. The Invalidity

Contentions also included over 250 pages of claim charts mapping the prior art references to

each limitation of the asserted claims. Further, the Invalidity Contentions include an analysis of

the ‘744 patent’s invalidity based on lack of enablement, lack of written description, and

indefiniteness.

                  77.   On July 18, 2008, Microsoft served its First Amended Invalidity

Contentions in the Microsoft litigation.




                                                 14
                                                                                          APP. 203
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 15 of 23 PageID #: 786
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 60 of 107 PageID 1204


               78.      Microsoft’s First Amended Invalidity Contentions added three prior art

references to Microsoft’s prior Invalidity Contentions, identifying a total of 61 prior art

references that anticipated and/or rendered obvious claims 1-5, 9, 11, 17-19, 21, 23, 25-29, 33,

39-41, 43, 45, 47-48, and 53 of the ‘744 patent. As with the initial Invalidity Contentions,

Microsoft First Amended Invalidity Contentions provided over 50 pages of narrative analysis of

how the identified prior art anticipated and/or rendered obvious the asserted claims and included

over 250 pages of claim charts mapping the prior art references to each limitations of the asserted

claims. Further, the First Amended Invalidity Contentions include an analysis of the ‘744

patent’s invalidity based on lack of enablement, lack of written description, and indefiniteness.

               79.      On June 6, 2008, Microsoft filed its Claim Construction Brief in the

Microsoft litigation.

               80.      Microsoft argued in its Claim Construction Brief that the term “arbitrary

object framework” is fatally indefinite.

               81.      The term “arbitrary object framework” is found in all independent claims

of both the ‘744 and ‘629 patents, making Microsoft’s indefiniteness argument material to the

patentability of the ‘629 patent.

               82.      Microsoft’s Invalidity Contentions, First Amended Invalidity Contentions,

and Claim Construction Brief disclose critical information expressly challenging the validity of

the related ‘744 patent, and thus constitute material prior art.

               83.      None of the persons involved in the prosecution of the ‘629 patent,

including Mr. McAuley and Mr. Stone, disclosed to the PTO Microsoft’s Invalidity Contentions,

First Amended Invalidity Contentions, or Claim Construction Brief. Further, none of the

persons involved in the prosecution of the ‘629 patent, including Mr. McAuley and Mr. Stone,




                                                  15
                                                                                          APP. 204
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 16 of 23 PageID #: 787
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 61 of 107 PageID 1205


disclosed to the PTO the existence of Microsoft’s Invalidity Contentions, First Amended

Invalidity Contentions, or Claim Construction Brief or the substance of the invalidity arguments

set forth therein.

                84.     Only some prior art references relied on during the Microsoft litigation

were selectively disclosed to the PTO during prosecution of the ‘629 patent.

                85.     The selective disclosure to the PTO of information arising out of the

Microsoft litigation demonstrates that Mr. McAuley and Mr. Stone were aware of the Microsoft

litigation and the existence of material information regarding the patentability of the ‘629 patent

arising out of that litigation.

                86.     This selective disclosure to the PTO also demonstrates that Mr. McAuley

and Mr. Stone made a deliberate decision to withhold material information from the PTO, and

thus demonstrates an intent to deceive.

                87.     The withholding of information material to patentability with intent to

deceive constitutes inequitable conduct, which renders the ‘629 patent unenforceable.

                           Prior Art References Produced by Microsoft

                88.     In an Information Disclosure Statement, the ‘629 patent applicants

disclosed to the PTO 24 of the 61 prior art references (or excerpts thereof) that were identified by

Microsoft in its Invalidity Contentions and First Amended Invalidity Contentions as anticipating

and/or rendering obvious certain claims of the ‘744 patent.

                89.     On information and belief, none of the persons involved in the prosecution

of the ‘629 patent, including Mr. McAuley and Mr. Stone, disclosed to the PTO any references

identified in Microsoft’s Invalidity Contentions or First Amended Invalidity Contentions that

pertain to the prior art Borland Delphi technology. Specifically, none of the persons involved in



                                                 16
                                                                                         APP. 205
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 17 of 23 PageID #: 788
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 62 of 107 PageID 1206


the prosecution of the ‘629 patent disclosed to the PTO: (i) Borland Delphi 3 for Windows 95 &

Windows NT, User’s Guide, Borland International, Inc. (1997); (ii) Borland’s Official No-

Nonsense Guide to Delphi 2, Sams Publishing (1996); (iii) Osier et al., Teach Yourself Delphi 3

in 14 Days, Sams Publishing (1997); (iv) Reisdorph, Sams Teach Yourself Borland Delphi 4 in

21 Days, Sams Publishing (1998); (v) Swan, Delphi 4 Bible, IDG Books Worldwide, Inc., Tom

Swan (1998); (vi) Teixeira et al., Borland Delphi 4 Developer’s Guide, Sams Publishing (1998).

               90.    On information and belief, none of the persons involved in the prosecution

of the ‘629 patent, including Mr. McAuley and Mr. Stone, disclosed to the PTO any references

identified in Microsoft’s Invalidity Contentions or First Amended Invalidity Contentions that

pertain to the prior art Microsoft Visual J++ technology. Specifically, none of the persons

involved in the prosecution of the ‘629 patent disclosed to the PTO: (i) Doss, DCOM Networking

with Visual J++ 6.0, Wordware Publishing, Inc. (1999); (ii) Morgan et. al, Visual J++

Unleashed, Sams.net Publishing (1997); (iii) Mulloy, Using Visual J++ 6, Que Corporation

(1998); (iv) Wood, Visual J++ 6 Secrets, IDG Books Worldwide, Inc. (1998).

               91.    On information and belief, none of the persons involved in the prosecution

of the ‘629 patent, including Mr. McAuley and Mr. Stone, disclosed to the PTO any references

identified in Microsoft’s Invalidity Contentions or First Amended Invalidity Contentions that

pertain to the prior art ASP technology. Specifically, none of the persons involved in the

prosecution of the ‘629 patent disclosed to the PTO: (i) Fedorchek et. al, ASP: Active Server

Pages, IDG Books Worldwide, Inc. (1997); (ii) Fedorov et. al, ASP 2.0 Programmer’s

Reference, Wrox Press (1998).

               92.    On information and belief, none of the persons involved in the prosecution

of the ‘629 patent, including Mr. McAuley and Mr. Stone, disclosed to the PTO any references




                                                17
                                                                                        APP. 206
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 18 of 23 PageID #: 789
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 63 of 107 PageID 1207


identified in Microsoft’s Invalidity Contentions or First Amended Invalidity Contentions that

pertain to the prior art Lotus Notes and Domino 4.5 technology. Specifically, none of the

persons involved in the prosecution of the ‘629 patent disclosed to the PTO: (i) Forlini et. al,

Lotus Notes and Domino 4.5 Professional Reference, New Riders Publishing (1997); (ii) Krantz,

Building Intranets with Lotus Notes & Domino, Maximum Press (1997).

               93.     On information and belief, none of the persons involved in the prosecution

of the ‘629 patent, including Mr. McAuley and Mr. Stone, disclosed to the PTO any references

identified in Microsoft’s Invalidity Contentions or First Amended Invalidity Contentions that

pertain to the prior art Paradox 7 technology. Specifically, none of the persons involved in the

prosecution of the ‘629 patent disclosed to the PTO: (i) Karim et. al, Paradox 7 Projects for

Windows 95, The Benjamin/Cummings Publishing Company, Inc. (1997); (ii) Weingarten et. al,

Paradox 7 for Windows 95 Illustrated Brief Edition, CTI (1997).

               94.     Just as was the case with the 24 prior art references from the Microsoft

litigation that the applicants did disclose to the PTO, the narrative and claim charts submitted

with Microsoft’s Invalidity Contentions and First Amended Invalidity contentions demonstrate

how the undisclosed Borland Delphi, Microsoft Visual J++, ASP, Lotus Notes and Domino 4.5,

and Paradox 7 prior art references listed in Paragraphs 89-93 above anticipate and/or render

obvious the asserted claims in the Microsoft litigation. Therefore, the undisclosed Borland

Delphi, Microsoft Visual J++, ASP, Lotus Notes and Domino 4.5, and Paradox 7 prior art

references listed in Paragraphs 89-93 above constitute material prior art.

               95.     The selective disclosure to the PTO of prior art references identified by

Microsoft during the Microsoft litigation demonstrates that Mr. McAuley and Mr. Stone were




                                                 18
                                                                                          APP. 207
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 19 of 23 PageID #: 790
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 64 of 107 PageID 1208


aware of the Microsoft litigation and the existence of material information regarding the

patentability of the ‘629 patent arising out of that litigation.

                96.      This selective disclosure to the PTO also demonstrates that Mr. McAuley

and Mr. Stone made a deliberate decision to withhold material information from the PTO, and

thus demonstrates an intent to deceive.

                97.      The withholding of information material to patentability with intent to

deceive constitutes inequitable conduct, which renders the ‘629 patent unenforceable.

                          Prior Art References Disclosed by Interwoven

                98.      On or about January 12, 2009, Vertical contacted Interwoven, taking the

position that the ‘744 patent contains claims that it believes cover Interwoven’s TeamSite Team

XM2, TeamSite Server and TeamSite Live Lite Content Publishing Server products (hereinafter

“TeamSite prior art”).

                99.      On or about March 5, 2009, Vertical’s agent and attorney, Vasilios Dossas

and its Chief Technology Officer, Luiz Claudio Valdetaro met with representatives from

Interwoven at Interwoven’s headquarters in San Jose, California.

                100.     During this meeting Interwoven presented Mr. Dossas and Mr. Valdetaro

with information including claim charts, clearly indicating that the alleged infringing TeamSite

prior art has been in use and was on sale prior to October 1, 1998. As such, TeamSite

constitutes material prior art under at least 35 U.S.C. § 102(b).

                101.     On information and belief, Vertical is a company that had approximately

29 employees at the time of its meeting with Interwoven, and Mr. Valdetaro is the highest

ranking management-level employee at Vertical primarily responsible for technology, including




                                                   19
                                                                                          APP. 208
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 20 of 23 PageID #: 791
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 65 of 107 PageID 1209


the development and monetization of Vertical’s intellectual property and represented Vertical in

this capacity at the meeting with Interwoven.

               102.    On information and belief, persons involved in the prosecution of the ‘629

patent, including Mr. Valdetaro, Mr. McAuley and Mr. Stone, were aware of the existence of

material information regarding the patentability of the ‘629 patent arising out of its discussions

with Interwoven, including at least the prior art disclosed by Interwoven at the March 5, 2009

meeting at Interwoven’s headquarters.

               103.    On information and belief, in his position as Chief Technology Officer,

Mr. Valdetaro would have known, or should have known, about pending patent applications,

especially the ‘629 application which was a continuation of the ‘744 patent that he and Mr.

Dossas were attempting to license to Interwoven during the March 5, 2009 meeting.

               104.    On information and belief, by virtue of his position as Vertical’s Chief

Technology Officer and knowledge of the Interwoven TeamSite prior art, Mr. Valdetaro had a

duty to disclose this material prior art to the PTO during the prosecution of the ‘629 patent.

               105.    On information and belief, by virtue of his position as Vertical’s Chief

Technology Officer, if he himself was not the person who should have disclosed the Interwoven

TeamSite prior art to the PTO, Mr. Valdetaro would have known the appropriate person at

Vertical to whom this information should be disclosed, and had a duty to disclose this relevant

information to that person.

               106.    On information and belief, none of the persons involved in the prosecution

of the ‘629 patent, including Mr. Valdetaro, Mr. McAuley and Mr. Stone, disclosed to the PTO

any references identified by Interwoven related to its TeamSite prior art.




                                                 20
                                                                                         APP. 209
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 21 of 23 PageID #: 792
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 66 of 107 PageID 1210


                107.    The TeamSite prior art is material and would have been relevant to the

patentability of at least the ‘629 patent.

                108.    On information and belief, the TeamSite prior art was withheld from the

PTO with the intent to deceive.

                109.    The withholding of information material to patentability with intent to

deceive constitutes inequitable conduct, which renders the ‘629 patent unenforceable.

                                      PRAYER FOR RELIEF

                WHEREFORE, Samsung prays for the following relief:

                A.      that the Court dismiss Vertical’s Complaint with prejudice;

                B.      that the Court adjudicate that Samsung is not infringing, contributing to, or

inducing infringement of, and have not infringed, contributed to, or induced infringement of any

of the claims of the Asserted Patents, willingly or otherwise;

                C.      that the Court adjudicate that the claims of the Asserted Patents are invalid

and unenforceable;

                D.      that the Court deny Vertical any and all relief it has requested in its

Complaint;

                E.      that the Court deny any preliminary or permanent injunctive relief in favor

of Vertical and against Samsung;

                F.      that Vertical shall take nothing by way of its Complaint;

                G.      that the Court find that this case is an exceptional case under 35 U.S.C. §

285, and require Vertical to pay costs of suit that Samsung has incurred, including attorneys’ fees

and costs, pursuant to 35 U.S.C. § 285 and all other applicable statutes, rules, and common law;

and



                                                  21
                                                                                            APP. 210
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 22 of 23 PageID #: 793
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 67 of 107 PageID 1211


              H.     that the Court grant Samsung costs and such other and further relief to

which Samsung is entitled and which the Court deems just and reasonable.


 Dated:   May 27, 2011                    Respectfully submitted,



                                          By: /s/ Eric H. Findlay
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                                          SAMSUNG ELECTRONICS CO., LTD.
                                          SAMSUNG ELECTRONICS AMERICA, INC.




                                              22
                                                                                      APP. 211
Case 2:10-cv-00490-JRG Document 48 Filed 05/27/11 Page 23 of 23 PageID #: 794
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 68 of 107 PageID 1212


                               CERTIFICATE OF SERVICE


              I hereby certify that all counsel of record, who are deemed to have consented to

electronic service are being served this 27th day of May 2011, with a copy of this document via

the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                                   /s/ Eric H. Findlay
                                                      Eric H. Findlay




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                                                                                    APP. 212
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14   Page 69 of 107 PageID 1213




                                                           EXHIBIT M


                                                                     APP. 213
                 Case 2:10-cv-00490-WCB Document 14 Filed 12/20/10 Page 1 of 2 PageID #: 58
                Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 70 of 107 PageID 1214


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 Case 2:10-cv-00490-WCB Document 14 Filed 12/20/10 Page 2 of 2 PageID #: 59
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 71 of 107 PageID 1215


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ❦                           ❅                   ❈                   ❜                                                                             ❈                                           ❍                                   ❬                                                                  ❖                       ❅                       ❋                   ●                               ❘                                   ❨                                                           ❧                                           ♠                                   ✐                           ♥                               ♦




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ♥                   ♦                   ✐                   r               q                   ✐                           ❤                       r           s                                   ✐                                   ✐                                   ✐                                           ❯                   ♣                                       ❅                       ▼               ❅                           ❪                                       ❬                                                          ❇                                       ❅                       ❳




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ♥                   ♦                   ✐                   r               q                   ✐                           ❤                       r               s                                           ❥                           ✐                                   ✐                                           ❯               t                                   ❉                       ◆                       ❋                           ◗                   ■                                           ◗                   ▼                       ❅                               ❳




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ❋       ❊                   ❅                   ❵                   ❅                   ❇                       ❙       ◆                   ❬                                   ❅                       ❖                       ❅                               ❇                               ❋                   ❛                               ❴                               ✇                                                   ❜                                                   ❅               ◗                   ▼                               ❙           ◆                                                              ■




                                                                                                                                                                                                                                                                                                                                                                                                ✤                   ✙                   ✣                   ✗                   ✕           ✦               ✕           ✤                   ✢                           ✗                                   ✙                                   ✥                                   ✦                                           ✜                                       ✙                                           ✣                                           ✪                                           ✕                   ✤                                           ✙




                                                                            ❩                       ❬                       ❅               ❖       ❅               ❫           ❴                           ◆       ❅                   ❖           ❊               ◗               ❆           ❴                       ❊       ❬               ❉       ❊                  ❇               ❄               ❅           ◆           ❅           ■                       ❫               ❅               ❖           ❤               ✐               ●               ❤                       ✐                           ❥                   ✐                   ●                       ❩                           ❅                               ▼                           ❅                           ◆                               ❊           ❖                                              ❇                           ◗                   ◆                       ❉                       ▼                           ▼                   ❴                                   ❆                               ◗               ▼                           ❅                       ❈                               ❊           ❬           ❅                   ❆                  ❖   ❅           ❑                      ◗       ❇           ❑       ✖       ✥       ✗           ✕       ✤           ✙




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ②

        ✥               ✦                   ✢                   ✫               ✫                           ✙                       ✢                       ✣                       ✢           ✖                               ✤                               ✙                                           ✥                       ✦                       ✤           ✥           ✚                   ✖                   ✜               ✙                   ✩                               ❜               ◗           ❊   ❬                           ❊                   ❬                   ❅                                   ❘                           ▼           ❅                   ❖               ❛                                                                                                  ❆                                           ❊                       ❬                       ❅                                                   ❘                                                                      ❏                       ❖                       ❊                                                       ❏                               ❋                   ◗           ❇               ❑                       ❊       ❬           ❅                   ❘               ❢                           ▲           ❘       t       ❋       ❴   ❋       ❊       ❅   ■




    ❜           ❬               ◗       ◆           ❬               ❜                       ◗           ▼           ▼                   ❋           ❅               ❇           ❈                       ❇                                  ❊           ◗               ❆               ◗           ◆           ❉           ❊           ◗          ❇                          ❆       ❋           ❏           ◆               ❬                   ❆   ◗           ▼       ◗       ❇               ❑                   ❵               ◗       ❉                           ❅           ▼                       ❅               ◆                   ❊       ❖                                  ❇                                   ◗           ◆                                                       ■                                           ❉                           ◗               ▼                           ❊                                                              ❉                           ▼                   ▼                               ◆                                                                      ❏                           ❇                               ❋           ❅                   ▼                  ❆                   ❖   ❅               ◆                  ❖   ❈                   ❙




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ②                               ②

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ❋                                                           ❍                                       ❊               ❅                               ❵                           ❅                       ❇                                           ❍                                       ❙                           ❘                               ❬                                   ❅                                   ❖                           ❅                       ❇                       ❋               ❛               ❴




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ❍                   ❊                           ❅                               ❵                                   ❅                               ❇                                       ❍                               ❙                           ❘                                   ❬                                   ❅                               ❖           ❅                                   ❇                                   ❋                           ❛                           ❴




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ❤




            ✁       ✂       ✄       ☎           ✆       ✝   ✞           ✟           ✠   ✡       ☛               ☞       ✌       ✍               ✎       ✏       ✑       ✒   ✡           ✓   ✒       ✡           ✎           ✒       ✍           ✏           ✍               ✔   ✓           ✓           ☛           ✑




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Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14   Page 72 of 107 PageID 1216




                                                           EXHIBIT N


                                                                     APP. 216
Case 2:10-cv-00490-WCB Document 60 Filed 10/13/11 Page 1 of 2 PageID #: 842
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 73 of 107 PageID 1217


                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

   VERTICAL COMPUTER SYSTEMS, INC. )
                                   )
             Plaintiff,            )
                                   )                 Civil Action No. 2:10-CV-490
             vs.                   )
                                   )
   INTERWOVEN, INC., LG ELECTRONICS)
   MOBILECOMM U.S.A., INC., LG     )
   ELECTRONICS INC., SAMSUNG       )
   ELECTRONICS CO., LTD. SAMSUNG )
   ELECTRONICS AMERICA, INC.,      )
                                   )
             Defendants.           )


                      MOTION TO WITHDRAW AS ATTORNEY

   TO THE HONORABLE JUDGE OF SAID COURT:

          Steven S. Cherensky files this motion to withdraw as counsel for Samsung.

   Samsung is currently represented by Eric H. Findlay of the law firm Findlay Craft, LLP

   and by Jared Bobrow, Timothy E. DeMasi, and Julian Moore of the law firm Weil

   Gotshal & Manges and will not be prejudiced by this withdrawal.


   Dated: October 12, 2011                    Respectfully submitted,

                                              TENSEGRITY LAW GROUP, LLP


                                              By:    /s/ Steven S .Cherensky
                                                     Steven S. Cherensky
                                              CA State Bar No. 168275
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                                              Suite 401
                                              Redwood Shores, CA 94065
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                                              Fax: 650-802-6001
                                              Steven.cherensky@tensegritylawgroup.com




                                                                                  APP. 217
Case 2:10-cv-00490-WCB Document 60 Filed 10/13/11 Page 2 of 2 PageID #: 843
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 74 of 107 PageID 1218


                                CERTIFICATE OF SERVICE

          This is to certify that all counsel of record who are deemed to have consented to

   electronic service are being served with a copy of this document via the Court’s CM/ECF

   system per Local Rule CV-5(a) on this 12th day of October 2011.


                                                        /s/ Steven S. Cherensky
                                                        Steven S. Cherensky


                             CERTIFICATE OF CONFERENCE

          I hereby certify that on October 10, 2011 attorneys for all parties were advised by

   email that the undersigned would be moving to withdraw as counsel for Samsung in this

   matter. No opposition was received from any party.


                                                        /s/ Steven S. Cherensky
                                                        Steven S. Cherensky




                                                                                      APP. 218
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14   Page 75 of 107 PageID 1219




                                                           EXHIBIT O


                                                                     APP. 219
Case 2:10-cv-00490-JRG Document 96 Filed 02/01/13 Page 1 of 7 PageID #: 1507
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 76 of 107 PageID 1220


                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

VERTICAL COMPUTER SYSTEMS, INC.,

                             Plaintiff,          Civil Action No. 2:10-cv-490

       v.
                                                 JURY TRIAL DEMANDED
LG ELECTRONICS MOBILECOMM U.S.A.,
INC., LG ELECTRONICS INC., SAMSUNG
ELECTRONICS CO., LTD., SAMSUNG
ELECTRONICS AMERICA, INC.,

                             Defendants.


                              FIRST AMENDED COMPLAINT

       Plaintiff, Vertical Computer Systems, Inc. ("Vertical") brings this action against

Defendants LG Electronics MobileComm U.S.A., Inc., LG Electronics Inc., Samsung

Electronics Co., Ltd. and Samsung Electronics America, Inc. (collectively, "defendants"),

alleging as follows:

I.     PARTIES

       1.      Plaintiff Vertical is a Delaware corporation with a principal place of business in

Richardson, Texas.

       2.      Defendant LG Electronics MobileComm U.S.A., Inc. is a California corporation

and has its principal place of business at 1000 Sylvan Avenue, Englewood Cliffs, NJ 07632. LG

Electronics MobileComm U.S.A., Inc. is doing business in this judicial district and may be

served with process through its Registered Agent, Alan K. Tse, 10101 Old Grove Road, San

Diego, CA 92131.

       3.      LG Electronics Inc. is a corporation organized under the laws of the Republic of

Korea and has its principal place of business at LG Twin Towers 20, Yeouido dong,

Yeongdeungpo-gu, Seoul, Republic of Korea 150-721.



                                                                                      APP. 220
Case 2:10-cv-00490-JRG Document 96 Filed 02/01/13 Page 2 of 7 PageID #: 1508
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 77 of 107 PageID 1221


       4.      Samsung Electronics America, Inc. is a New York corporation and has its

principal place of business at 85 Challenger Road, Ridgefield Park, NJ 07660. Samsung is

doing business in this judicial district and may be served with process through its Registered

Agent, CT Corporation System, 111 Eighth Avenue, New York, NY 10011.

       5.      Samsung Electronics Co., Ltd. is a corporation organized under the laws of the

Republic of Korea and has its principal place of business at 1320-10, Seocho 2-dong, Seocho-gu,

Seoul 137-857, Republic of Korea.

II.    JURSIDICTION AND VENUE

       6.      Vertical's patent infringement action arises under the patent laws of the United

States, including 35 U.S.C. §§ 271 and 281. This Court has exclusive subject matter jurisdiction

over this civil action under 28 U.S.C. § 1338(a).

       7.      LG Electronics MobileComm U.S.A., Inc. and LG Electronics Inc. (collectively,

"LG") have minimum contacts with the Marshall Division of the Eastern District of Texas such

that this venue is a fair and reasonable one. LG has committed such purposeful acts and/or

transactions in Texas that it reasonably knew and expected would result in it being brought into a

Texas court as a consequence of its business activities. For these reasons, venue is proper in this

Court under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C. § 1400(b).

       8.      Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc.

(collectively, "Samsung") have minimum contacts with the Marshall Division of the Eastern

District of Texas such that this venue is a fair and reasonable one. Samsung has committed such

purposeful acts and/or transactions in Texas that it reasonably knew and expected would result in

it being brought into a Texas court as a consequence of its business activities. For these reasons,

venue is proper in this Court under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C. § 1400(b).




                                                2
                                                                                        APP. 221
Case 2:10-cv-00490-JRG Document 96 Filed 02/01/13 Page 3 of 7 PageID #: 1509
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 78 of 107 PageID 1222


III.   PATENT INFRINGEMENT

       9.       On November 30, 2004, United States Patent No. 6,826,744 (the "'744 patent")

was duly and legally issued for a "System and Method for Generating Web Sites in an Arbitrary

Object Framework."

       10.      On May 11, 2010, United States Patent No. 7,716,629 (the "'629 patent") was

duly and legally issued for a "System and Method for Generating Web Sites in an Arbitrary

Object Framework."

       11.      Vertical is the owner of the '744 and '629 patents and has standing to sue for

infringement.

       12.      Defendants LG and Samsung manufacture, have made, use, import, sell and/or

offer for sale cellular telephones covered by at least one claim of each of the '744 and '629

patents. Defendants LG and Samsung have also infringed and continue to infringe the '744 and

'629 patents by actively inducing others to infringe with specific intent and by contributing to the

infringement by others by the use, sale and/or offer for sale of the infringing cellular telephones.

The infringement that has occurred is at least one of the following claims through

commercialization of at least the following model phones:

                 Claims of            Claims of
                                                                       Model Nos.
                '744 Patent          '629 Patent
 LG          3, 4, 17, 25, 56   1, 21, 24, 28, 32       Ally™ VS740
                                                        LG Ally/Apex/Axis
                                                        LG DoublePlay
                                                        LG Enlighten/Optimus Slider
                                                        LG Esteem
                                                        LG G2x/Optimus 2x
                                                        LG Genesis
                                                        LG Marquee
                                                        LG my Touch Q
                                                        LG my Touch
                                                        LG Optimus M/Optimus C
                                                        LG Optimus S/Optimus U/
                                                        Optimus V
                                                        LG Optimus T


                                                 3
                                                                                         APP. 222
Case 2:10-cv-00490-JRG Document 96 Filed 02/01/13 Page 4 of 7 PageID #: 1510
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 79 of 107 PageID 1223



              Claims of            Claims of
                                                                Model Nos.
             '744 Patent          '629 Patent
                                                  LG Revolution
                                                  LG Thrill 4 G/Optimus 3D
                                                  LG Thrive Phoenix
                                                  LG Vortex
 Samsung   3, 4, 17, 25, 56   1, 21, 24, 28, 32   Acclaim SCH‐R880
                                                  Admire Vitality
                                                  Behold II
                                                  Captivate (Galaxy S)
                                                  Conquer 4G
                                                  Continuum (Galaxy S)
                                                  Dart
                                                  Droid Charge
                                                  Epic 4G (Galaxy S)
                                                  Epic 4G Touch (Galaxy S II)
                                                  Exhibit 4G (Galaxy S)
                                                  Exhibit II 4G
                                                  Fascinate/Mesmerize
                                                  (Galaxy S)
                                                  Galaxy Indulge R910/
                                                  Indulge R915
                                                  Galaxy Prevail
                                                  Galaxy S 4G
                                                  Galaxy S II/SGH i777
                                                  Galaxy S II/SGH‐T989
                                                  Galaxy S II Skyrocket
                                                  Gem
                                                  Gravity Smart
                                                  Infuse 4G
                                                  Intercept
                                                  Moment
                                                  Replenish
                                                  Sidekick 4G
                                                  Stratosphere
                                                  Transfix
                                                  Transform Ultra
                                                  Transform
                                                  Vibrant (Galaxy S)

                                                  Samsung Galaxy Tab10.1 with
                                                     Verizon 4G LTE
                                                  Samsung Galaxy Tab 10.1
                                                  Samsung Galaxy Tab 7.0
                                                  Samsung Galaxy Tab 8.9Galaxy Tab™
                                                     Tablet Computer
                                                  Galaxy Captivate™ Android Phone


                                              4
                                                                                APP. 223
Case 2:10-cv-00490-JRG Document 96 Filed 02/01/13 Page 5 of 7 PageID #: 1511
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 80 of 107 PageID 1224



                 Claims of             Claims of
                                                                       Model Nos.
                '744 Patent           '629 Patent
                                                          Galaxy Fascinate™ Android Phone
                                                          Galaxy Epic™ Android Phone
                                                          Samsung Galaxy Mesmerize™
                                                          i500 Touch Screen Cell Phone




IV.    STATUTORY NOTICE

       13.     Vertical has placed the required statutory notice on all software products sold by

it under the '744 and '629 patents.

V.     RELIEF

       14.     Vertical has been damaged as a result of LG's and Samsung's infringing conduct

and LG, Samsung and Interwoven are, thus, liable to Vertical in an amount that adequately

compensates Vertical for LG's and Samsung's infringement, which, by law, cannot be less than a

reasonable royalty for each of these two defendants.

       15.     LG and Samsung will continue their infringement of the '744 and '629 patents

unless enjoined by the Court. LG's and Samsung's infringing conduct causes Vertical irreparable

harm and will continue to cause such harm without the issuance of an injunction.

VI.    JURY DEMAND

       16.     Vertical hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of

Civil Procedure.

VII.   PRAYER FOR RELIEF

       Vertical respectfully requests that the Court find in its favor and against LG and Samsung

and that the Court grant Vertical the following relief:

       a.      Judgment that one or more claims of United States Patent No. 6,826,744 and

United States Patent No. 7,716,629 have been infringed, either literally and/or under the doctrine


                                                 5
                                                                                        APP. 224
Case 2:10-cv-00490-JRG Document 96 Filed 02/01/13 Page 6 of 7 PageID #: 1512
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 81 of 107 PageID 1225


of equivalents, by LG and Samsung and/or by others to whose infringement LG and Samsung

have contributed and/or by others whose infringement has been induced by LG and Samsung;

       b.     Judgment that LG and Samsung account for and pay to Vertical all damages to

and costs incurred by Vertical because of LG and Samsung's infringing activities and other

conduct complained of herein;

       c.     That Vertical be granted pre-judgment and post-judgment interest on the damages

caused to it by reason of LG's and Samsung's infringing activities and other conduct complained

of herein;

       d.     That this Court declare this an exceptional case and award Vertical its reasonable

attorneys' fees and costs in accordance with 28 U.S.C. § 285;

       e.     That LG and Samsung be permanently enjoined from any further activity or

conduct that infringes any claims of United States Patent No. 6,824,744 and United States Patent

No. 7,716,629; and

       f.     That Vertical be granted such other and further relief as the Court or jury may

deem just and proper under the circumstances.

Dated: February 1, 2013                             Respectfully submitted,

                                                    By: /s/ William E. Davis, III
                                                    William E. Davis, III
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                                                    Telephone: (903) 230-9090
                                                    Facsimile: (903) 230-9661
                                                    Email: bdavis@bdavisfirm.com

                                                    Vasilios D. Dossas
                                                    Illinois State Bar No. 6182616
                                                    Niro, Haller & Niro
                                                    181 West Madison Street, Suite 4600
                                                    Chicago, Illinois 60602
                                                    Telephone: (312) 236-0733


                                                6
                                                                                     APP. 225
Case 2:10-cv-00490-JRG Document 96 Filed 02/01/13 Page 7 of 7 PageID #: 1513
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 82 of 107 PageID 1226


                                                     Facsimile: (312) 236-3137
                                                     Email: dossas@nshn.com

                                                     Attorneys for Plaintiff
                                                     Vertical Computer Systems, Inc.




                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this document was served on all counsel who are

deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R.

Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

consented to electronic service were served with a true and correct copy of the foregoing by

email, on this the 1st day of February, 2013.

                                                    /s/ William E. Davis, III
                                                    William E. Davis, III




                                                7
                                                                                   APP. 226
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14   Page 83 of 107 PageID 1227




                                                            EXHIBIT P


                                                                     APP. 227
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                                                        Page 84 of 107 PageID 1228
                                                                                                                     US006826744B1

 (12) Ulllted States Patent                                                                          (10) Patent N0.:                  US 6,826,744 B1
        McAuley                                                                                      (45) Date of Patent:                       Nov. 30, 2004


 (54)    SYSTEM AND METHOD FOR GENERATING                                                              6,026,433 A   *    2/2000 D’Arlach et a1. ........... .. 707/10
         WEB SITES IN AN ARBITRARY OBJECT                                                              6,028,998 A   *    2/2000 Gloudeman et a1. ...... .. 717/108
         FRAMEWORK                                                                                     6,052,670 A *      4/2000 Johnson ..................... .. 705/27
                                                                                                       6,199,082 B1 *     3/2001 Ferrel et al. .............. .. 715/522
                    _                                                  ~                               6,219,680 B1 *     4/2001   Bernardo et al.    ...... .. 707/501.1
 (75)    Inventor‘      Aubrey McAuley’Austm’ TX (Us)                                                  6,226,648 B1 * 5/2001 Appleman et a1.                    707/102
              .                    .                                                                   6,247,032 B1 *     6/2001   B      d    t l.             345/733
 (73)    Asslgnee: vertlcal Computer Systems’ Inc"                                                     6,253,282 B1 * 6/2001                      ............. .. 709/203
                        Ausnm TX (Us)                                                                  6,308,188 B1 * 10/2001 Bernardo e161. ...... .. 707/501.1

 (*)     Notice:        Subject to any disclaimer, the term of this                                               OTHER PUBLICATIONS
                             t         t '       t    d d             d'    t d    d     35
                        $156 nc lisiibinbsoczireuilslus e um er                                 Lewandowski, Framework for C0mp0nent—Based Client/
                             ' '        '                              '                        Server Computing, Mar. 1998, ACM, pp. 3—27.*

 (21) Appl. No.: 09/410,334                                                                     * cited by examiner
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          1e :          O ct. 11999
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                                                                                                           '    Jh n Ch avis
                                                                                                                           '
                   7                                                                            (74) Attorney, Agent, or Firm—Brown Raysman Millstein
 (51)    Int. Cl. ................................................ .. G06F 9/45                 Felder & Steiner LLP
 (52)    US. Cl. ........................................ .. 717/108
 (58)    Field Of Search ................... .. 717/108; 707/103 R;                             (57)                       ABSTRACT
                                                                                  715/522       A system and method for generating computer applications
 (56)                        References Cited                                                   in an arbitrary object framework. The method separates
                                                                                                content, form, and function of the computer application so
                   U.S. PATENT DOCUMENTS                                                        that each may be accessed or modi?ed separately. The
                      *                                                                         method includes creating arbitrary objects, managing the
                    2 *                          gleglléyegt      """"""""" "                   arbitrary objects throughout their life cycle in an object
        5’894’554 A              4/1999 LOWZIY ct                             :m707/1O41        library, and deploying the arbitrary objects in a design
        5,903,894 A      *       5/1999          Reneris       ''''''''''     ' ' ' " 7O7/100   framework for use in complex computer applications.

        5,930,512 A *            7/1999 Boden e161.                   717/102
        5,956,736 A *            9/1999 Hanson et a1. ............ .. 345/760                                   53 Claims, 2 Drawing Sheets




                                                                                            CONTENT              / 10

                                                                                                 1
                        FUNCTIONALITY                                       —>             PRODUCT               ~                  FORM

                                             /                                                   \                                       \
                                       14                                                         16                                      12




                                                                                                                                                            APP. 228
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                           Page 85 of 107 PageID 1229

 U.S. Patent               Nov. 30, 2004              Sheet 1 0f 2                 US 6,826,744 B1



                                           CONTENT              '0

                                              I

                   FIG.          7          FORM               ‘2
                 (PRIOR ART)                      7


                                         FUNCTIONALITY \14


                                           PRODUCT\16


                  Fla 2                    CONTENT

                   FUNCTIONALITY     =     PROOuCT        <          FORM

                           /                  \                       \
                       14                     16                       I2




      20\ CENERATE ARBITRARY                                   GENERATE ARBITRARY [30
                    OBJECTS                                             OBJECTS

                       V                                                     V

      22       MANAGE ARBITRARY                                 MANAGE ARBITRARY          32
           \     OBJECTS IN AN                                       OBJECTS IN AN    /
                OBJECT LIBRARY                                   OBJECT LIBRARY

                       V                                                     v

                DEPLOY ARBITRARY                                DEPLOY ARBITRARY
      24/         OBJECTS IN A                                    OBJECTs IN A        \54
               OEsICN FRAMEWORK                                  CONTAINER PAGE


                   SOFTWARE                                            wEB SITE
                  APPLICATION
                                                                     FIG. 4
                 FIG. 3


                                                                                               APP. 229
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14   Page 86 of 107 PageID 1230




                                                                     APP. 230
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                             Page 87 of 107 PageID 1231

                                                       US 6,826,744 B1
                                1                                                                      2
     SYSTEM AND METHOD FOR GENERATING                                    production delays and the workload for programmers due to
      WEB SITES IN AN ARBITRARY OBJECT                                   changes in content and/or form. This method should separate
                 FRAMEWORK                                               form, content and function so that each area can be inde
                                                                         pendently changed.
        TECHNICAL FIELD OF THE INVENTION                                   The present invention provides a system and method for
   This invention relates generally to systems and methods               generating software applications that substantially elimi
 for generating software applications in an arbitrary object             nates or reduces disadvantages and problems associated with
 framework, and more speci?cally to systems and methods                  previously developed systems and methods used for gen
 for generating web sites in an arbitrary object framework.              eration of software applications. More speci?cally, the
                                                                         present invention provides a method for generating software
          BACKGROUND OF THE INVENTION                                    applications in an arbitrary object framework. The method
   Three processes used to create complex software appli                 of the present invention separates content, form, and func
 cations such as web sites are form, function, and content.              tion of the computer application so that each may be
 Form includes graphic designs, user interfaces, and graphi              accessed or modi?ed independently. The method of this
 cal representations created by a designer or a group of            15   invention includes creating arbitrary objects, managing the
 designers. Function includes logical functionality, which can           arbitrary objects throughout their life cycle, and deploying
 be software code created by a programmer or group of                    the arbitrary objects in a design framework for use in
 programmers. Form includes informative content. Informa                 complex computer applications.
 tive content can include written, recorded, or illustrated                 The present invention provides an important technical
 documentation, such as photographs, illustrations, product              advantage in that content, form, and function are separated
 marketing material, and news articles. Content can be cre               from each other in the generation of the software applica
 ated by writers, photographers, artists, reporters, or editors.         tion. Therefore, changes in design or content do not require
    Currently, typical work?ows dictate a serial approach to             the intervention of a programmer. This advantage decreases
 integrating the form, function, and content to create complex           the time needed to change various aspects of the software
 software applications such as a web site. The serial approach      25   application. Consequently, cost is reduced and versatility is
 is illustrated in FIG. 1. In FIG. 1, content 10 for a complex           increased.
 software application can be chosen or created. Form 12 for                The present invention provides another technical advan
 the presentation of content 10 can then be created. Func                tage in that users are not required to use a proprietary
 tionality 14 can then be generated using code to create the             language to encode. These arbitrary objects may include
 complex software application (product 16) with the desired              encapsulated legacy data, legacy systems and custom pro
 information (content 10) and style (form 12). Using the                 gramming logic from essentially any source in which they
 method illustrated in FIG. 1, every ?nal component of the               may reside. Any language supported by the host system, or
 complex software application must be manipulated by a                   any language that can be interfaced to by the host system,
 programmer before it is ready to be used. The exact work                can be used to generate an object within the application.
 ?ow may vary from industry to industry or business to              35
 business, but the basic restrictions are generally the same.
                                                                            The present invention provides yet another technical
                                                                         advantage in that it can provide a single point of adminis
    A traditional approach such as that illustrated in FIG. 1,
                                                                         trative authority that can reduce security risks. For instance,
 may create unwanted bottlenecks in the production process.
                                                                         a large team of programmers can work on developing a large
 Each upstream revision, such as a change of content 10 or
                                                                    40
                                                                         group of arbitrary objects within the object library. If one
 design 12, forces a repetition of the entire process. As an             object has a security hole, an administrator can enter the
 example, consider a web site for a large newspaper. The web
                                                                         object library and disable that arbitrary object.
 site may have a function that can include a ?le into the web
 site. The marketing department may decide to change the                    Still another technical advantage of the present invention
 appearance of the header on the web site depending on the               is that it enables syndication of the software application. As
 browser of a user. In this case, a programmer may need to 45            noted above, functionality is separate from form and con
                                                                         tent. Consequently, a user can easily introduce a new look
 invoke an external script or embed some speci?c logic
 within the web site. Unfortunately, if there is a large web site        for the application or syndicate the content and functionality
 with thousands of pages of information stored on a server,
                                                                         of the application to another group without having to recode
                                                                         all of the objects needed to access content.
 the programmer may have to change every one of the
 thousands of pages. Therefore, a small change by the mar                   Another technical advantage of the present invention is
 keting department can cause a large burden on the program               that it allows for personaliZation and pro?ling. With
 ming department.                                                        personaliZation, the web presentation is tailored to the
   Prior art solutions have succeeded in partially separating            speci?c needs of the web user based on the user’s past
 some of these functions. Notably, content management                    history. Pro?ling also enables tailoring a web site or pre
 databases and digital repositories provide a means of sepa         55   sentation. Pro?ling is dependent on environmental variables
 rating content from form and function. Likewise, sophisti               such as browser type or IP address.
 cated software development teams frequently employ inter                      BRIEF DESCRIPTION OF THE DRAWINGS
 nal code structuring techniques that can help to minimiZe
 dependencies between interface designs and the functions                  A more complete understanding of the present invention
 they access. However, content management tools typically
                                                                         and the advantages thereof may be acquired by referring to
 fail to address form/function issues. Therefore, there can still
                                                                         the following description, taken in conjunction with the
 be production slow-downs due to changes in form that                    accompanying drawings in which like reference numbers
                                                                         indicate like features and wherein:
 require a subsequent change in functionality.
                                                                            FIG. 1 illustrates a prior art work?ow diagram for gen
             SUMMARY OF THE INVENTION                               65   erating a software product;
   Therefore a need exists for a method of generating                      FIG. 2 is a hierarchical work?ow diagram for one
 complex software applications that reduces or eliminates                embodiment of the present invention;
                                                                                                                             APP. 231
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                            Page 88 of 107 PageID 1232

                                                      US 6,826,744 B1
                               3                                                                       4
   FIG. 3 is a How diagram for one embodiment of the                    problem, because changes in the design in the main site
 present invention;                                                     change all previous templates. In the method of the present
   FIG. 4 is a How diagram for the embodiment illustrated in            invention, since all that exists Within the frameWork is an
 FIG. 4.                                                                arbitrary object, the arbitrary object can be sWapped for
   FIG. 5 is a diagram illustrating the components of one               another object that pulls the current piece content in ques
 embodiment of the present invention used to generate Web               tion.
 sites; and                                                               Using one embodiment of this invention, for example, the
                                                                        Features or Editorials page of a neWspaper can be dynami
              DETAILED DESCRIPTION OF THE                               cally replaced. The present invention can execute all the
                       INVENTION                                   10   normal objects that can be placed on the page to shoW the
    Preferred embodiments of the present invention are illus            content as it Would appear, and then take the one piece in
 trated in the FIGUREs, like numerals being used to refer to            question and replace it With a second object to be examined.
 like and corresponding parts of various draWings.                      Objects may be deployed globally across an entire system or
   The present invention provides a system and method for               locally Within a speci?c area or sub-areas of a system.
 using a hierarchical, arbitrary object framework for gener               FIG. 4 represents a How diagram of another embodiment
 ating softWare applications. The method separates content,             of the present invention. At step 30, arbitrary objects can be
 form, and function of the softWare application so that each            generated. At step 32, the arbitrary objects can be managed
 can be accessed or modi?ed independently. The method of                in an object library. Arbitrary objects can be deployed in a
 this invention includes creating arbitrary objects, managing           container page at step 34 to generate a Web site.
 the arbitrary objects in an object library, and deploying the            Arbitrary objects may include any combination of appli
 arbitrary objects in a design frameWork for use in computer            cation logic and data desired by a developer. Arbitrary
 applications.                                                          objects can include text ?le pointers, binary ?le pointers,
    FIG. 2 is a hierarchical Work?oW diagram for the present            compiled executable scripts, database queries, shell
 invention. Product 6 includes three contributing groups:          25
                                                                        commands, remote call procedures, global variables and
 content 10, form 12, and functionality 14. Content 10 can              local variables. Arbitrary objects may also include cached
 include Written, recorded, or illustrated collateral such as           data queries and executables. The arbitrary object frame
 documentation, photographic illustrations, product market              Work alloWs arbitrary objects to be referenced in a consistent
 ing material, and articles. Form 12 can include graphic                manner regardless of the type of object. Also, the arbitrary
 designs such as user interfaces and graphical presentations.           object frameWork alloWs local arbitrary objects to either
 Function 14 can include the logical functionality of softWare          override global parent arbitrary objects or inherit capabilities
 code and scripts. The hierarchical frameWork separates                 and data from the global parent arbitrary object.
 content 10, form 12, and functionality 14 to generate product            Arbitrary objects can execute any function that can be run
 16. Product 16 may be a computer softWare application such             or understood by the host computer system so that any
 as a Web site. Since content 10, design 12, and functionality     35   underlying functionality of the operating system used by the
 14 are separate entities independent of each other, modi?              host system can be de?ned as an object Within the arbitrary
 cation in one group does not require corresponding modi                frameWork. Legacy data, document objects, CPI programs,
 ?cations in another group. Each group can contribute to                and database queries can all be encapsulated as objects
 product 16 directly.                                                   Within the arbitrary frameWork. The arbitrary object can be
   FIG. 3 is a How diagram of one embodiment of the present        40   accessed by an arbitrary object name. Arbitrary objects are
 invention. At step 20, arbitrary objects can be generated.             not tied to their functionality. One arbitrary object can be
 Arbitrary objects may include any combination of applica               easily replaced With another arbitrary object of another type.
 tion logic and data desired by a developer. Arbitrary objects             Arbitrary objects can be managed in an object library. The
 can include text ?le pointers, binary ?le pointers, compiled           life cycle of the arbitrary objects may be managed in a
 executables, scripts, data base queries, shell commands,          45   consistent manner using revision tracking, roll-back, and
 remote procedure calls, global variables, and local variables.         sign-off. The object library can include separate specialiZed
 The arbitrary object frameWork alloWs arbitrary objects to             object libraries that can be administered separately by dif
 be referenced in a consistent manner regardless of the type.           ferent developers in each area. For instance, for a Web site
 Also, the arbitrary object frameWork alloWs local arbitrary            used to generate a neWspaper, there may be an advertising
 objects to either override global parent arbitrary objects or          object library that is physically distinguished from other
 inherit capabilities and data from the global parent, regard           object libraries, such as an object library for sports or an
 less of the type of the local arbitrary object.                        object library for neWs. Therefore, queries for advertising
    At step 22, these arbitrary objects can be managed in an            can be created Without impacting any other area of the Web
 object library. The life cycle of these objects may be                 site.
 managed in a consistent manner using revision tracking, roll      55     Arbitrary objects can be deployed from the object library
 back, and sign off. At step 24, objects can be deployed from           into a container page to generate the Web site. The container
 the object library into a design frameWork to create the               page is a truly dynamic page. Unlike prior art methods,
 softWare application. Because the object pointers are not tied         Where a static copy of information is often pushed over a
 in any Way to the functionality of the object, an object of one        ?reWall to a live Web site, the present invention incorporates
 type can be easily replaced With another object of another             object caching. An arbitrary object can be cached, rather
 type. This eliminates a common problem in content man                  than caching an entire page. When the arbitrary object is
 agement systems of the inability to previeW content Within             cached, certain elements of the arbitrary object can be
 its appropriate location on the site or Within the system.             speci?ed as dynamic elements While others can be speci?ed
 Normally, a special system made for the purpose of pre                 as static elements. Therefore, a Web site can contain multiple
 vieWing a piece of content Would have to be hard-coded to         65   dynamic Web pages Wherein objects used to construct the
 vieW the current approved live content for all other pieces            form, function, and content of the Web page can contain
 except the piece in question. This multiplies the design               dynamic elements and static elements. This provides ?ex
                                                                                                                             APP. 232
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                           Page 89 of 107 PageID 1233

                                                     US 6,826,744 B1
                               5                                                                      6
 ibility for What needs to be computed or processed at the             variable information or environmental information can be
 time that someone, such as a Web user, accesses the Web               available to every object. The environment space can be
 page.                                                                 available to all objects executed and an object can arbitrarily
    FIG. 5 shoWs the components of one embodiment of the               take advantage of any of the environmental information,
 present invention used to generate Web sites. A user With             depending on the design of the object.
 Web broWser 40 can connect to Web server 44 through                     Different areas of a Web site can be administered sepa
 internet or intranet 42. Web server 44 can access static              rately by different developers in each of these areas. An
 HTML Web documents 46 as Well as dynamic HTML                         advertising object library can be physically distinguished
 documents 52. Dynamic HTML Web documents 52 can be                    from other object libraries, such as those for sports and
 created using Web OS Obj ect Manager 50. Dynamic HTML            10   neWs. An advertising programmer can create neW queries for
 Web document 52 can include document objects 56, shell                the advertising section of a site Without having to Worry
 scripts 58, CGI programs 60, and database queries 62.                 about affecting other areas of the site.
 Document objects 56, shell scripts 58, CGI programs 60, and              The present invention alloWs different object types to be
 database queries 62 can be stored in WebOS object library             interchangeable. The object name is essentially just another
 54. Database queries 62 can result from extracting informa       15   variable in the environment. Also different variables can also
 tion from WebOS Information Database 68 and inputting the             be interchangeable. The object frameWork can be designed
 information into Dynamic HTML Web Template 66.                        such that objects and variables can be kept in the same name
   User Pro?le and PassWord Database 70 can provide Web                space, every object can have access to all the environmental
 sites or systems With a means to take advantage of customer           settings, and every object pointer can potentially be another
 pro?les to look at customer preferences or history, and               name in the name space.
 dynamically replace a Website object With another object                Object caching, rather than page caching can be imple
 that contains content information matching the user pro?le            mented With the present invention. These objects can be
 or preferences. Thus, the Web site or system can dynamically          stored in an object library. An object in the object library can
 allocate the correct content for a customer. This is important        be a ?le, a global variable, an executable script, a database
                                                                  25
 in commerce applications. A customer’s buying history can             query, a cached executable or a cached database query. This
 be examined for trend items and the customer presented                means that the results of a query can be stored in a static ?le
 products that match his or her pro?le. Present personaliZa            using the object name as long as the static ?le has not
 tion systems are Written purely in custom code and require            expired. This is important if thc query is a lengthy query.
 an inordinately large amount of time to construct the custom            A technical advantage of the present invention is that it
 applications necessary to interpret the preferences of an             alloWs for syndication. Syndication enables the content and
 individual user.                                                      function of a particular Web site to be syndicated to another
   The method of present invention can perform object                  Web site or Web presentation. For instance, if a company
 caching. This means that an object can be cached instead of           Would like to roll out a neW look or syndicate its content and
 caching an entire page. Object caching permits specifying        35
                                                                       functionality to another business, this can be easily accom
 elements of an object to be dynamic and elements of the               plished using the present invention. Since there is no appli
 object to be static. Asystem user can thus have the ?exibility        cation code resident in a Web page itself, the same data can
 of specifying What needs to be computed or processed at the           be repackaged in a number of different Ways across multiple
 time a user accesses the system versus trying to anticipate           sites. There is no need to recode the design elements or
 and calculate in advance and cache and post the object over      40
                                                                       design pages on the Web site or recode any functions that are
 to a server.                                                          needed to access the content of the Website. The present
   Many functions are stored Within an object library on an            invention enables electronic store fronts to sell from a single
 arbitrary object frameWork such that those functions can be           source With a unique interface design. Also, neWspaper
 accessed by name arbitrarily. This is in contrast to a tradi          chains can distribute international and national content from
 tional model Where the function must be explicitly invoked       45
                                                                       a single source and add local content themselves.
 With all its parameters included. Objects may execute any                Another technical advantage of the present invention is
 function that can be run or understood by the host computer           that it alloWs for a single point of control When developing
 system so that any underlying functionality of the host’s             a Web site. Therefore, if a large team of developers are
 operating system can be de?ned as an object Within the                Working on a site, and multiple persons are contributing
 frameWork of the method of the present invention. The                 arbitrary objects to the overall arbitrary frameWork, then if
 object library can contain legacy data, document objects,             one of the arbitrary objects has a security hole in it, the
 CTI programs, and/or database queries, that can all be                arbitrary object can be easily accessed in the object library
 encapsulated as objects Within a frameWork and accessed               and disabled. This security feature can immediately shut
 from Within a design. All that is needed is the name of the           doWn that function across the entire Web site and patch the
 function in order to access the function.                  55         security hole.
    Objects can be controlled to perform functions based on              The present invention provides still another technical
 a pro?le of an individual and environmental variables, such           advantage in that it alloWs for personaliZation. PersonaliZa
 as the type of broWser, the country of the individual or the          tion enables companies that Want to take advantage of a
 individual’s IP address. A speci?c competitor may be                  customer pro?le to look at the customer’s preferences or
 blocked from seeing certain objects on a Web page created             histories and deploy information to the Web site speci?c to
 using the method of the present invention.                            the customer.
   A critical distinction betWeen the present invention and               Another technical advantage of the present invention
 previous object oriented development systems is the need to           alloWs for pro?ling. Pro?ling enables control over the arbi
 knoW hoW a function can be called and What to expect it to            trary objects presented in a Web site based on a pro?le of the
 return, rather than just knoWing the function’s name. This       65   individual accessing the Web site. Pro?ling entails determin
 means that typically the system administrator calls the name          ing different environmental variables such as the type of
 of an object and passes parameters to the object. Any and all         broWser hitting the site, the country of the individual access
                                                                                                                            APP. 233
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                          Page 90 of 107 PageID 1234

                                                     US 6,826,744 B1
                               7                                                                     8
 ing the site, and/or the individual’s IP address. This can             20. The method of claim 1, Wherein the step managing
 enable a company to present speci?c information to the               further comprises using signoff.
 individual based on the individual’s environmental vari                21. The method of claim 1, Wherein said arbitrary objects
 ables.                                                               can be accessed and deployed into said design frameWork
    Although the present invention has been described in              using said corresponding arbitrary names.
 detail herein With reference to the illustrative embodiments,          22. The method of claim 1, further comprising sWapping
 it should be understood that the description is by Way of            an arbitrary object of one type With an arbitrary object of
 eXample only and is not to be construed in a limiting sense.         another type.
 It is to be further understood, therefore, that numerous               23. The method of claim 1, further comprising caching
 changes in the details of the embodiments of this invention     10   objects.
 and additional embodiments of this invention Will be appar             24. The method of claim 23, Wherein the step of caching
 ent to, and may be made by, persons of ordinary skill in the         objects further comprises specifying some elements of an
 art having reference to this description. It is contemplated         arbitrary object to be dynamic elements and specifying some
 that all such changes and additional embodiments are Within          elements of said arbitrary object to be static elements.
 the spirit and true scope of this invention as claimed beloW.   15      25. The method of claim 1, further comprising generating
    What is claimed is:                                               arbitrary objects in a programming language that is com
    1. A method for generating a computer application on a            patible or supported by said host system.
 host system in an arbitrary object frameWork that separates             26. A method for generating a Web site on a host system
 a content of said computer application, a form of said               in an arbitrary object frameWork that separates a content of
 computer application and a functionality of said computer            said Web site, a form of said Web site, and a functionality of
 application, said method comprising:                                 said Web site, said method comprising:
   creating arbitrary objects With corresponding arbitrary              creating arbitrary objects With corresponding arbitrary
       names of various object types for generating said                    names of various object types for generating said
       content of said computer application, said form of said              content of said Web site, said form of said Web site, and
       computer application, and said functionality of said      25       said functionality of said Web site; managing said
       computer application;                                              arbitrary objects in an object library; and
   managing said arbitrary objects in an object library; and            deploying said arbitrary objects from said object library to
   deploying said arbitrary objects from said object library                a container page to create said Web site.
       into a design frameWork to create said computer appli            27. The method of claim 26, Wherein said various object
       cation.                                                        types comprise teXt ?le pointers.
   2. The method of claim 1, Wherein said computer appli                28. The method of claim 26, Wherein said various object
 cation is a Web site.                                                types comprise binary ?le pointers.
   3. The method of claim 1, Wherein said various object                29. The method of claim 26, Wherein said various object
 types comprise teXt ?le pointers.                                    types comprise compiled eXecutables.
   4. The method of claim 1, Wherein said various object         35     30. The method of claim 26, Wherein said various object
 types comprise binary ?le pointers.                                  types comprise shell commands.
   5. The method of claim 1, Wherein said various object                31. The method of claim 26, Wherein said various object
 types comprise compiled eXecutables.                                 types comprise remote procedure calls.
   6. The method of claim 1, Wherein said various object                32. The method of claim 26, Wherein said various object
 types comprise shell commands.                                  40   types comprise global variables.
   7. The method of claim 1, Wherein said various object                33. The method of claim 26, Wherein said various object
 types comprise remote procedure calls.                               types comprise local variables.
   8. The method of claim 1, Wherein said various object                34. The method of claim 26, Wherein said various object
 types comprise global variables.                                     types comprise local objects and global parent objects.
   9. The method of claim 1, Wherein said various object         45      35. The method of claim 34, Wherein said local objects
 types comprise cached eXecutables.                                   can override said global parent objects.
   10. The method of claim 1, Wherein said various object                36. The method of claim 34, Wherein said local objects
 types comprise cached database queries.                              inherit data from said global parent objects.
   11. The method of claim 1, Wherein said various object                37. The method of claim 34, Wherein said local objects
 types comprise local variables.                                      inherit capabilities from said global parent objects.
   12. The method of claim 1, Wherein said various object               38. The method of claim 26, further comprising deploying
 types comprise local objects and global parent objects.              arbitrary objects globally.
    13. The method of claim 12, Wherein said local objects              39. The method of claim 26, further comprising deploying
 can override said global parent objects.                             arbitrary objects locally.
    14. The method of claim 12, Wherein said local objects       55     40. The method of claim 26, Wherein the step of managing
 inherit data from said global parent objects.                        said arbitrary objects further comprises using revision track
    15. The method of claim 12, Wherein said local objects            mg.
 inherit capabilities from said global parent objects.                  41. The method of claim 26, Wherein the step of managing
   16. The method of claim 1, further comprising deploying            said arbitrary objects further comprises using rollback.
 arbitrary objects globally.                                            42. The method of claim 26, Wherein the step managing
   17. The method of claim 1, further comprising deploying            said arbitrary objects further comprises using signoff,.
 arbitrary objects locally.                                             43. The method of claim 26, Wherein said arbitrary objects
   18. The method of claim 1, Wherein the step of managing            can be accessed and deployed into said container page using
 said arbitrary objects further comprises using revision track        said corresponding arbitrary names.
 mg.                                                             65     44. The method of claim 26, further comprising sWapping
   19. The method of claim 1, Wherein the step of managing            an arbitrary object of one type With an arbitrary object of
 said arbitrary objects further comprises using rollback.             another type.
                                                                                                                          APP. 234
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                       Page 91 of 107 PageID 1235

                                                  US 6,826,744 B1
                             9                                                                    10
   45. The method of claim 26, further comprising caching             50. The method of claim 26, further comprising pro?ling
 objects.                                                           of a user accessing said Web site.
    46. The method of claim 45, Wherein the step of caching           51. The method of claim 26, further comprising person
 objects further comprises specifying some elements of an
                                                                    aliZation of said Web site for a user accessing said Web site.
 arbitrary object to be dynamic elements and specifying some
 elements of said arbitrary object to be static elements.             52. The method of claim 26, Wherein said container page
    47. The method of claim 26, further comprising generat          comprises arbitrary objects With both dynamic and static
 ing arbitrary objects in a programming language that is            elements.
 compatible or supported by said host system.                         53. The method of claim 26, Wherein said content of said
   48. The method of claim 26, Wherein said various object     10
                                                                    Web site and said function of said Web site can be syndicated.
 types comprise cached executable.
   49. The method of claim 25, Wherein said various object                                *   *   *    *   *
 types comprise cached database queries.




                                                                                                                       APP. 235
    Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 Page 92 of 107 PageID 1236
           UNITED STATES PATENT AND TRADEMARK OFFICE
                   CERTIFICATE OF CORRECTION

PATENT NO.     : 6,826,744 B1                                                                  Page 1 of 1
DATED          : November 30, 2004
INVENTOR(S) : Aubrey McAuley

      It is certified that error appears in the above-identi?ed patent and that said Letters Patent is
      hereby corrected as shown below:


      Column 5,
      Line 10, delete “Web OS” and insert -- WebOS

      Column 8,
      Line 61, delete “,” at end of sentence.




                                                                 Signed and Sealed this

                                                                Fifth Day of April, 2005



                                                                          m Wguw
                                                                           JON W. DUDAS
                                                       Director ofthe United States Patent and Trademark O?‘ice




                                                                                                                  APP. 236
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14 US006826744C1
                                                  Page 93 of 107 PageID 1237

   (12) EX PARTE REEXAMINATION CERTIFICATE (9412th)
 United States Patent        (10) Number: US 6,826,744 C1
 McAuley                                                     (45) Certi?cate Issued:                         Nov. 16, 2012

 (54)   SYSTEM AND METHOD FOR GENERATING                 (52)   US. Cl. ..................................................... .. 717/108
        WEB SITES IN AN ARBITRARY OBJECT                 (58)   Field of Classi?cation Search ...................... .. None
        FRAMEWORK                                               See application ?le for complete search history.

 (75) Inventor: Aubrey McAuley, Austin, TX (US)          (56)                      References Cited
 (73) AssigneeZ Vertical Computer systems, Inc” L05      To View the complete listing of prior art documents cited
                                                         during the proceeding for Reexamination Control Number
                      Angeles, CA (US)                   90/009,982, please refer to the USPTO’s public Patent
 Reexamination Request:                                  Application Information Retrieval (PAIR) system under the
                                                         Display References tab.
      No. 90/009,982, Jan. 6,2012
                                                         Primary Examiner * Salman Ahmed
 Reexamination Certi?cate for:
        Patent No.:       6,826,744                      (57)                    ABSTRACT
        Issued:           Nov. 30, 2004
        Appl. No.:        09/410,334                     A system and method for generating computer applications in
        Filed:            Oct. 1, 1999                   an arbitrary object framework. The method separates content,
                                                         form, and function of the computer application so that each
 Certi?cate of Correction issued Apr. 5, 2005.           may be accessed or modi?ed separately. The method includes
                                                         creating arbitrary objects, managing the arbitrary objects
 (51) Int. Cl.                                           throughout their life cycle in an object library, and deploying
      G06F 9/45                 (2006.01)                the arbitrary objects in a design framework for use in complex
      G06F 19/00                (2006.01)                computer applications.




                                                      CONTEN T                  l0

                                                         U

                       FUNCTIONALITY             —*   PRODUCT            —                  FORM


                             14                            16                                      T2




                                                                                                                          APP. 237
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                           Page 94 of 107 PageID 1238

                                                      US 6,826,744 Cl
                   1                                                                                   2
               EX PARTE                                                   45. The method of claim [26] 5 7, further comprising cach
     REEXAMINATION CERTIFICATE                                          ing objects.
                                                                          47. The method of claim [26] 5 7, further comprising gen
       ISSUED UNDER 35 U.S.C. 307                                       erating arbitrary objects in a programming language that is
                                                                        compatible or supported by said host system.
            THE PATENT IS HEREBY AMENDED AS                               48. The method of claim [26] 57, wherein said Various
                    INDICATED BELOW.                                    object types comprise cached executable.
                                                                          49. The method of claim [25] 57, wherein said Various
   Matter enclosed in heavy brackets [ ] appeared in the                object types comprise cached database queries.
 patent, but has been deleted and is no longer a part of the
                                                                          52. The method of claim [26] 5 7, wherein said container
 patent; matter printed in italics indicates additions made
 to the patent.
                                                                        page comprises arbitrary objects withboth dynamic and static
                                                                        elements.
 AS A RESULT OF REEXAMINATION, IT HAS BEEN                                 53. The method of claim [26] 5 7, wherein said content of
   DETERMINED THAT:                                                     said web site and said function of said web site can be syn
                                                                        dicated.
   The patentability of claims 6, 8, 19, 22, 30, 32, 41, 44, 50            54. A methodfor generating a computer application on a
 and 51 is con?rmed.                                                    host system in an arbitrary objectframework that separates a
   Claims 1 and 26 are cancelled.                                       content ofsaid computer application, aform ofsaid computer
   Claims 2-5, 7, 9-11, 18, 21, 23, 25, 27-29, 31, 33, 40, 45,     20   application and afunctionality ofsaid computer application,
 47-49 and 52-53 are determined to be patentable as amended.            said method comprising:
   Claims 24 and 46, dependent on an amended claim, are                   creating arbitrary objects with corresponding arbitrary
 determined to be patentable.                                                names ofvarious object typesfor generating said con
                                                                             tent of said computer application, said form of said
   New claims 54-57 are added and determined to be
                                                                             computer application, and said functionality of said
 patentable.                                                                 computer application;
   Claims 12-17, 20, 34-39 and 42-43 were not reexamined.                 managing said arbitrary objects in an object library;
   2. The method of claim [1] 5 6, wherein said computer                  deploying said arbitrary objectsfrom said object library
 application is a web site.                                                 into a design framework to create said computer appli
    3. The method of claim [1] 5 6, wherein said Various object    30       cation; and
 types comprise text ?le pointers.                                        swapping an arbitrary object ofone type with an arbitrary
    4. The method of claim [1] 56, wherein said Various object               object of another type.
 types comprise binary ?le pointers.                                      55. A methodfor generating a web site on a host system in
   5. The method of claim [1] 56, wherein said Various object           an arbitrary object framework that separates a content of
 types comprise compiled executables.                                   said web site, aform ofsaid web site, and afunctionality of
    7. The method of claim [1] 5 6, wherein said Various object         said web site, said method comprising:
 types comprise remote procedure calls.                                   creating arbitrary objects with corresponding arbitrary
    9. The method of claim [1] 5 6, wherein said Various object              names ofvarious object typesfor generating said con
 types comprise cached executables.                                          tent ofsaid web site, saidform ofsaid web site, and said
    10. The method of claim [1] 5 6, wherein said Various object   40       functionality ofsaid web site;
 types comprise cached database queries.                                  managing said arbitrary objects in an object library;
    11. The method of claim [1] 5 6, wherein said Various object          deploying said arbitrary objectsfrom said object library to
 types comprise local Variables.                                             a containerpage to create said web site; and
   18. The method of claim [1] 56, wherein the step of man                swapping an arbitrary object ofone type with an arbitrary
 aging said arbitrary objects further comprises using revision     45        object of another type.
 tracking.                                                                56. A methodfor generating a computer application on a
    21. The method of claim [1] 56, wherein said arbitrary              host system in an arbitrary objectframework that separates a
 objects can be accessed and deployed into said design frame            content ofsaid computer application, aform ofsaid computer
 work using said corresponding arbitrary names.                         application and afunctionality ofsaid computer application,
    23. The method of claim [1] 5 6, further comprising caching    50   said method comprising:
 objects.                                                                 creating arbitrary objects with corresponding arbitrary
    25. The method of claim [1] 56, further comprising gener                 names ofvarious object typesfor generating said con
 ating arbitrary objects in a programming language that is                   tent of said computer application, said form of said
 compatible or supported by said host system.                                computer application, and said functionality of said
    27. The method of claim [26] 5 7, wherein said Various         55        computer application, said arbitrary objects being
 object types comprise text ?le pointers.                                   objects that can be created independently by individual
   28. The method of claim [26] 5 7, wherein said Various                   preference, that are interchangeable, and that may be,
 object types comprise binary ?le pointers.                                 but need not be, accessed solely by name, the object
   29. The method of claim [26] 5 7, wherein said Various                   being an entity that can haveform, content, orfunction
 object types comprise compiled executables.                       60       ality or any combination ofform, content andfunction
   31. The method of claim [26] 5 7, wherein said Various                    ality;
 object types comprise remote procedure calls.                            managing said arbitrary objects in an object library; and
   33. The method of claim [26] 5 7, wherein said Various                 deploying said arbitrary objectsfrom said object library
 object types comprise local Variables.                                      into a design framework to create said computer appli
   40. The method of claim [26] 57, wherein the step of            65        cation.
 managing said arbitrary objects further comprises using revi             57. A methodfor generating a web site on a host system in
 sion tracking.                                                         an arbitrary object framework that separates a content of
                                                                                                                          APP. 238
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                  Page 95 of 107 PageID 1239

                                                   US 6,826,744 C1
                             3                                                              4
 said web site, aform ofsaid web site, and afunctionality of      may be, but need not be, accessed solely by name, the
 said web site, said method comprising:                           object being an entity that can haveform, content, or
   creating arbitrary objects with corresponding arbitrary        functionality or any combination ofform, content and
     names ofvarious object typesfor generating said con          functionality;
                                                                managing said arbitrary objects in an object library; and
     tent ofsaid web site, saidform ofsaid web site, and said   deploying said arbitrary objectsfrom said object library to
     functionality of said web site, said arbitrary objects       a containerpage to create said web site.
     being objects that can be created independently by indi
     vidual preference, that are interchangeable, and that                          *   *   *   *   *




                                                                                                                APP. 239
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14   Page 96 of 107 PageID 1240




                                                           EXHIBIT Q


                                                                     APP. 240
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                                                             Page 97 of 107 PageID 1241
                                                                                                                              US007716629B2


 (12) Ulllted States Patent                                                                               (10) Patent N0.:                      US 7,716,629 B2
        McAuley                                                                                           (45) Date of Patent:                          *May 11, 2010

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                            patent is extended or adjusted under 35                                                        (Continued)
                            USC‘ 1540’) by 613 days‘                                                              FOREIGN PATENT DOCUMENTS
                            This patent is subject to a terminal dis-                                CA                  2110970               6/l995
                            c1a1mer.

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 (65)                           Prior Publication Data                                               through MSVERT 126‘
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                                                                                                                                   (Continued)
                 Related US. Application Data                                                        Primary Examinerilohn Chavis
 (63)    Continuation of application No. 09/410,334, ?led on                                         (74) 14110171611, Age/1!, 01’ Firmischeef8l Stone, L-L-P-; Jack
         Oct. 1, 1999, now Pat. No. 6,826,744.                                                       D. Stone, Jr.

 (51) Int. Cl.                                                                                       (57)                        ABSTRACT
      G06F 9/45                             (2006.01)
 (52)    US. Cl.         .................................................... ..         717/100                                                .                                       .   .
 (58)    Field of Classi?cation Search                717/106                                        A method and system for generating a computer application
                                         """"""      /1 00 149’                                      is disclosed. The computer application is generated on a host
         See application ?le for Complete Search history ’                                           system in an arbitrary object framework that separates a con
                                                                                          '          tent of said computer application, a form of said computer
 (56)                           References Cited                                                     application and a functionality of said computer application.
                                                                                                     Arbitrary objects are created with corresponding arbitrary
                    U.S. PATENT DOCUMENTS                                                            names of Various object types for generating said content of
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                                                                                                     said computer application, said form of said computer appli
        5,555,365   A       *     9/1996       Selbyet a1.       .....        . . . ..   715/765
                                                                                                     cation, and said functionality of said computer application.
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                                                                                                     design framework to create said computer application.
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                                                                            GENERATE ARBITRARY /30
                                                                                 OBJECTS
                                                                                              I
                                                                              MANAGE ARBITRARY
                                                                                OBJECTS IN AN                   /52
                                                                               OBJECT LIBRARY

                                                                                              I
                                                                              DEPLOY ARBITRARY
                                                                                    OBJECTS IN A
                                                                                CONTAINER PAGE


                                                                                          WEB SITE

                                                                                                                                                                                APP. 241
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                                   Page 98 of 107 PageID 1242

                                                              US 7,716,629 B2
                                                                         Page 2

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                                                                                                                                      APP. 242
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14             Page 99 of 107 PageID 1243

 US. Patent             May 11,2010        Sheet 1 012                   US 7,716,629 B2



                                        CONTENT       f")

                                           I

               FI G.        1            FORM            '2
             (PRIOR ART)
                                      FUNCTIONALITY \14


                                        PRODUCT\16


               Fla          2           coNTEm /‘°

                FUNCTIONALITY          PRODUCT    =           FORM
                        /                  \                   \
                    T4                     I6                   12




    20\ GENT-IRATE ARBITRARY                             GENERATE ARBITRARY r30
               OBJECTS                                        OBJECTS
                    T                                                7

            MANAGE ARBITRARY                              MANAGE ARBITRARY
             OBJECTS IN AN                                 OBJECTS IN AN        [32
             OBJECT LIBRARY                                OBJECT LIBRARY
                    I


            DEPLOY ARBITRARY                              DEPLOY ARBITRARY
    24 /      OBJECTS IN A                                    OBJECTS IN A
           DESIGN FRAMEWORK                               CONTAINER PAGE

                   I
               SOFTWARE                                         WEB SITE
              APPLICATION
                                                              FIG.         4
             FIG. 3
                                                                                  APP. 243
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14   Page 100 of 107 PageID 1244




                                                                     APP. 244
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                            Page 101 of 107 PageID 1245

                                                       US 7,716,629 B2
                                1                                                                       2
        SYSTEM AND METHOD FOR GENERATING                                 HoWever, content management tools typically fail to address
         WEB SITES IN AN ARBITRARY OBJECT                                form/function issues. Therefore, there can still be production
                    FRAMEWORK                                            sloW-doWns due to changes in form that require a subsequent
                                                                         change in functionality.
                 RELATED APPLICATIONS
                                                                                      SUMMARY OF THE INVENTION
   This application is a continuation of US. application Ser.
                                                                           Therefore a need exists for a method of generating complex
 No. 09/410,334, ?led Oct. 1, 1999, now US. Pat. No. 6,826,              softWare applications that reduces or eliminates production
 744.
                                                                         delays and the Workload for programmers due to changes in
         TECHNICAL FIELD OF THE INVENTION                                content and/or form. This method should separate form, con
                                                                         tent and function so that each area can be independently
   This invention relates generally to systems and methods for           changed.
 generating software applications in an arbitrary object frame             The present invention provides a system and method for
 Work, and more speci?cally to systems and methods for gen               generating softWare applications that substantially eliminates
 erating Web sites in an arbitrary object framework.                     or reduces disadvantages and problems associated With pre
                                                                         viously developed systems and methods used for generation
           BACKGROUND OF THE INVENTION                                   of softWare applications. More speci?cally, the present inven
                                                                         tion provides a method for generating softWare applications
   Three processes used to create complex softWare applica               in an arbitrary object frameWork. The method of the present
                                                                    20
 tions such as Web sites are form, function, and content. Form           invention separates content, form, and function of the com
 includes graphic designs, user interfaces, and graphical rep            puter application so that each may be accessed or modi?ed
 resentations created by a designer or a group of designers.             independently. The method of this invention includes creating
 Function includes logical functionality, Which can be soft              arbitrary objects, managing the arbitrary objects throughout
 Ware code created by a programmer or group of program              25
                                                                         their life cycle, and deploying the arbitrary objects in a design
 mers. Form includes informative content. Informative con                frameWork for use in complex computer applications.
 tent can include Written, recorded, or illustrated                         The present invention provides an important technical
 documentation, such as photographs, illustrations, product              advantage in that content, form, and function are separated
 marketing material, and neWs articles. Content can be created           from each other in the generation of the softWare application.
 by Writers, photographers, artists, reporters, or editors.         30
                                                                         Therefore, changes in design or content do not require the
    Currently, typical Work?oWs dictate a serial approach to             intervention of a programmer. This advantage decreases the
 integrating the form, function, and content to create complex           time needed to change various aspects of the softWare appli
 softWare applications such as a Web site. The serial approach           cation. Consequently, cost is reduced and versatility is
 is illustrated in FIG. 1. In FIG. 1, content 10 for a complex           increased.
 softWare application can be chosen or created. Form 12 for the     35
                                                                           The present invention provides another technical advan
 presentation of content 10 can then be created. Functionality           tage in that users are not required to use a proprietary lan
 14 can then be generated using code to create the complex               guage to encode. These arbitrary objects may include encap
 softWare application (product 16) With the desired informa              sulated legacy data, legacy systems and custom programming
 tion (content 10) and style (form 12). Using the method                 logic from essentially any source in Which they may reside.
 illustrated in FIG. 1, every ?nal component of the complex         40
                                                                         Any language supported by the host system, or any language
                                                                         that can be interfaced to by the host system, can be used to
 softWare application must be manipulated by a programmer
 before it is ready to be used. The exact Work?oW may vary               generate an object Within the application.
 from industry to industry or business to business, but the basic          The present invention provides yet another technical
 restrictions are generally the same.                                    advantage in that it can provide a single point of administra
   A traditional approach such as that illustrated in FIG. 1,            tive authority that can reduce security risks. For instance, a
                                                                    45
                                                                         large team of programmers can Work on developing a large
 may create unWanted bottlenecks in the production process.
 Each upstream revision, such as a change of content 10 or
                                                                         group of arbitrary objects Within the object library. If one
                                                                         object has a security hole, an administrator can enter the
 design 12, forces a repetition of the entire process. As an
 example, consider a Web site for a large neWspaper. The Web             object library and disable that arbitrary object.
 site may have a function that can include a ?le into the Web
                                                                            Still another technical advantage of the present invention is
                                                                    50
 site. The marketing department may decide to change the                 that it enables syndication of the softWare application. As
 appearance of the header on the Web site depending on the
                                                                         noted above, functionality is separate from form and content.
                                                                         Consequently, a user can easily introduce a neW look for the
 broWser of a user. In this case, a programmer may need to
 invoke an external script or embed some speci?c logic Within
                                                                         application or syndicate the content and functionality of the
 the Web site. Unfortunately, if there is a large Web site With          application to another group Without having to recode all of
                                                                    55
                                                                         the objects needed to access content.
 thousands of pages of information stored on a server, the
                                                                           Another technical advantage of the present invention is that
 programmer may have to change every one of the thousands
 of pages. Therefore, a small change by the marketing depart             it alloWs for personaliZation and pro?ling. With personaliZa
 ment can cause a large burden on the programming depart
                                                                         tion, the Web presentation is tailored to the speci?c needs of
 ment.
                                                                         the Web user based on the user’s past history. Pro?ling also
                                                                    60
                                                                         enables tailoring a Web site or presentation. Pro?ling is
   Prior art solutions have succeeded in partially separating
                                                                         dependent on environmental variables such as broWser type
 some of these functions. Notably, content management data
                                                                         or IP address.
 bases and digital repositories provide a means of separating
 content from form and function. LikeWise, sophisticated soft                   BRIEF DESCRIPTION OF THE DRAWINGS
 Ware development teams frequently employ internal code             65
 structuring techniques that can help to minimize dependen                 A more complete understanding of the present invention
 cies betWeen interface designs and the functions they access.           and the advantages thereof may be acquired by referring to
                                                                                                                               APP. 245
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                           Page 102 of 107 PageID 1246

                                                      US 7,716,629 B2
                                3                                                                      4
 the following description, taken in conjunction With the               tems of the inability to previeW content Within its appropriate
 accompanying drawings in Which like reference numbers                  location on the site or Within the system. Normally, a special
 indicate like features and Wherein:                                    system made for the purpose of previeWing a piece of content
    FIG. 1 illustrates a prior art Work?oW diagram for gener            Would have to be hard-coded to vieW the current approved live
 ating a software product;                                              content for all other pieces except the piece in question. This
   FIG. 2 is a hierarchical Work?oW diagram for one embodi              multiplies the design problem, because changes in the design
 ment of the present invention;                                         in the main site change all previous templates. In the method
   FIG. 3 is a How diagram for one embodiment of the present            of the present invention, since all that exists Within the frame
 invention;                                                             Work is an arbitrary object, the arbitrary object can be
   FIG. 4 is a How diagram for another embodiment of the                sWapped for another object that pulls the current piece content
 present invention; and                                                 in question.
    FIG. 5 is a diagram illustrating the components of one                Using one embodiment of this invention, for example, the
 environment of the present invention used to generate Web              Features or Editorials page of a neWspaper can be dynami
 sites.                                                                 cally replaced. The present invention can execute all the nor
                                                                        mal objects that can be placed on the page to shoW the content
     DETAILED DESCRIPTION OF THE INVENTION                              as it Would appear, and then take the one piece in question and
                                                                        replace it With a second object to be examined. Objects may
    Preferred embodiments of the present invention are illus            be deployed globally across an entire system or locally Within
 trated in the FIGUREs, like numerals being used to refer to            a speci?c area or sub-areas of a system.
 like and corresponding parts of various draWings.                 20     FIG. 4 represents a How diagram of another embodiment of
   The present invention provides a system and method for               the present invention. At step 30, arbitrary objects can be
 using a hierarchical, arbitrary object frameWork for generat           generated. At step 32, the arbitrary objects can be managed in
 ing softWare applications. The method separates content,               an object library. Arbitrary objects can be deployed in a con
 form, and function of the softWare application so that each            tainer page at step 34 to generate a Web site.
 can be accessed or modi?ed independently. The method of           25      Arbitrary objects may include any combination of appli
 this invention includes creating arbitrary objects, managing           cation logic and data desired by a developer. Arbitrary objects
 the arbitrary objects in an object library, and deploying the          can include text ?le pointers, binary ?le pointers, compiled
 arbitrary objects in a design frameWork for use in computer            executable scripts, database queries, shell commands, remote
 applications.                                                          call procedures, global variables and local variables. Arbi
    FIG. 2 is a hierarchical Work?oW diagram for the present       30   trary objects may also include cached data queries and
 invention. Product 16 includes three contributing groups:              executables. The arbitrary object frameWork alloWs arbitrary
 content 10, form 12, and functionality 14. Content 10 can              objects to be referenced in a consistent manner regardless of
 include Written, recorded, or illustrated collateral such as           the type of obj ect. Also, the arbitrary object frameWork alloWs
 documentation, photographic illustrations, product market              local arbitrary objects to either override global parent arbi
 ing material, and articles. Form 12 can include graphic           35   trary objects or inherit capabilities and data from the global
 designs such as user interfaces and graphical presentations.           parent arbitrary object.
 Function 14 can include the logical functionality of softWare             Arbitrary objects can execute any function that can be run
 code and scripts. The hierarchical frameWork separates con             or understood by the ho st computer system so that any under
 tent 10, form 12, and functionality 14 to generate product 16.         lying functionality of the operating system used by the host
 Product 16 may be a computer softWare application such as a       40   system can be de?ned as an object Within the arbitrary frame
 Web site. Since content 10, design 12, and functionality 14 are        Work. Legacy data, document objects, CGI programs, and
 separate entities independent of each other, modi?cation in            database queries can all be encapsulated as objects Within the
 one group does not require corresponding modi?cations in               arbitrary frameWork. The arbitrary object can be accessed by
 another group. Each group can contribute to product 16                 an arbitrary object name. Arbitrary objects are not tied to their
 directly.                                                         45   functionality. One arbitrary object can be easily replaced With
   FIG. 3 is a How diagram of one embodiment of the present             another arbitrary object of another type.
 invention. At step 20, arbitrary objects can be generated.                Arbitrary objects can be managed in an object library. The
 Arbitrary objects may include any combination of application           life cycle of the arbitrary objects may be managed in a con
 logic and data desired by a developer. Arbitrary objects can           sistent manner using revision tracking, roll-back, and sign
 include text ?le pointers, binary ?le pointers, compiled          50   off. The object library can include separate specialiZed object
 executables, scripts, data base queries, shell commands,               libraries that can be administered separately by different
 remote procedure calls, global variables, and local variables.         developers in each area. For instance, for a Web site used to
 The arbitrary object frameWork alloWs arbitrary objects to be          generate a neWspaper, there may be an advertising object
 referenced in a consistent manner regardless of the type. Also,        library that is physically distinguished from other object
 the arbitrary object frameWork alloWs local arbitrary objects     55   libraries, such as an object library for sports or an object
 to either override global parent arbitrary objects or inherit          library for neWs. Therefore, queries for advertising can be
 capabilities and data from the global parent, regardless of the        created Without impacting any other area of the Web site.
 type of the local arbitrary object.                                      Arbitrary objects can be deployed from the object library
   At step 22, these arbitrary objects can be managed in an             into a container page to generate the Web site. The container
 object library. The life cycle of these objects may be managed    60   page is a truly dynamic page. Unlike prior art methods, Where
 in a consistent manner using revision tracking, roll back, and         a static copy of information is often pushed over a ?reWall to
 sign off. At step 24, objects can be deployed from the object          a live Web site, the present invention incorporates object
 library into a design frameWork to create the softWare appli           caching. An arbitrary object can be cached, rather than cach
 cation. Because the object pointers are not tied in any Way to         ing an entire page. When the arbitrary object is cached, cer
 the functionality of the object, an object of one type can be     65   tain elements of the arbitrary object can be speci?ed as
 easily replaced With another object of another type. This              dynamic elements While others can be speci?ed as static
 eliminates a common problem in content management sys                  elements. Therefore, a Web site can contain multiple dynamic
                                                                                                                              APP. 246
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                            Page 103 of 107 PageID 1247

                                                      US 7,716,629 B2
                               5                                                                       6
 Web pages wherein objects used to construct the form, func             of an object and passes parameters to the object. Any and all
 tion, and content of the Web page can contain dynamic ele              variable information or environmental information can be
 ments and static elements. This provides ?exibility for What           available to every object. The environment space canbe avail
 needs to be computed or processed at the time that someone,            able to all objects executed and an object can arbitrarily take
 such as a Web user, accesses the Web page.                             advantage of any of the environmental information, depend
    FIG. 5 shoWs the components of one environment of the               ing on the design of the object.
 present invention used to generate Web sites. A user With Web            Different areas of a Web site can be administered separately
 broWser 40 can connect to Web server 44 through intemet or             by different developers in each of these areas. An advertising
 intranet 42. Web server 44 can access static HTML Web                  object library can be physically distinguished from other
 documents 46 as Well as dynamic HTML documents 52.                     object libraries, such as those for sports and neWs. An adver
 Dynamic HTML Web documents 52 can be created using                     tising programmer can create neW queries for the advertising
 WebOS Object Manager 50. Dynamic HTML Web document                     section of a site Without having to Worry about affecting other
 52 can include document objects 56, shell scripts 58, CGI              areas of the site.
 programs 60, and database queries 62. Document objects 56,               The present invention alloWs different object types to be
 shell scripts 58, CGI programs 60, and database queries 62             interchangeable. The object name is essentially just another
 can be stored in WebOS object library 54. Database queries             variable in the environment. Also different variables can also
 62 can result from extracting information from WebOS Infor             be interchangeable. The object frameWork can be designed
 mation Database 68 and inputting the information into                  such that objects and variables can be kept in the same name
 Dynamic HTML Web Template 66.                                          space, every object can have access to all the environmental
   User Pro?le and PassWord Database 70 can provide Web            20   settings, and every object pointer can potentially be another
 sites or systems With a means to take advantage of customer            name in the name space.
 pro?les to look at customer preferences or history, and                  Object caching, rather than page caching can be imple
 dynamically replace a Website object With another object that          mented With the present invention. These objects can be
 contains content information matching the user pro?le or               stored in an object library. An object in the object library can
 preferences. Thus, the Web site or system can dynamically         25   be a ?le, a global variable, an executable script, a database
 allocate the correct content for a customer. This is important         query, a cached executable or a cached database query. This
 in commerce applications. A customer’s buying history can              means that the results of a query can be stored in a static ?le
 be examined for trend items and the customer presented prod            using the object name as long as the static ?le has not expired.
 ucts that match his or her pro?le. Present personaliZation             This is important if the query is a lengthy query.
 systems are Written purely in custom code and require an          30     A technical advantage of the present invention is that it
 inordinately large amount of time to construct the custom              alloWs for syndication. Syndication enables the content and
 applications necessary to interpret the preferences of an indi         function of a particular Web site to be syndicated to another
 vidual user.                                                           Web site or Web presentation. For instance, if a company
   The method of present invention can perform object cach              Would like to roll out a neW look or syndicate its content and
 ing. This means that an object can be cached instead of cach      35   functionality to another business, this can be easily accom
 ing an entire page. Object caching permits specifying ele              plished using the present invention. Since there is no appli
 ments of an object to be dynamic and elements of the object            cation code resident in a Web page itself, the same data can be
 to be static. A system user can thus have the ?exibility of            repackaged in a number of different Ways across multiple
 specifying What needs to be computed or processed at the               sites. There is no need to recode the design elements or design
 time a user accesses the system versus trying to anticipate and   40   pages on the Web site or recode any functions that are needed
 calculate in advance and cache and post the object over to a           to access the content of the Website. The present invention
 server.                                                                enables electronic store fronts to sell from a single source
   Many functions are stored Within an object library on an             With a unique interface design. Also, neWspaper chains can
 arbitrary object framework such that those functions can be            distribute international and national content from a single
 accessed by name arbitrarily. This is in contrast to a tradi      45   source and add local content themselves.
 tional model Where the function must be explicitly invoked                Another technical advantage of the present invention is that
 With all its parameters included. Objects may execute any              it alloWs for a single point of control When developing a Web
 function that can be run or understood by the host computer            site. Therefore, if a large team of developers are Working on a
 system so that any underlying functionality of the host’s              site, and multiple persons are contributing arbitrary objects to
 operating system canbe de?ned as an obj ect Within the frame      50   the overall arbitrary frameWork, then if one of the arbitrary
 Work of the method of the present invention. The object                objects has a security hole in it, the arbitrary object can be
 library can contain legacy data, document objects, CGI pro             easily accessed in the object library and disabled. This secu
 grams, and/or database queries, that can all be encapsulated           rity feature can immediately shut doWn that function across
 as objects Within a frameWork and accessed from Within a               the entire Web site and patch the security hole.
 design. All that is needed is the name of the function in order   55      The present invention provides still another technical
 to access the function.                                                advantage in that it alloWs for personaliZation. PersonaliZa
    Objects can be controlled to perform functions based on a           tion enables companies that Want to take advantage of a
 pro?le of an individual and environmental variables, such as           customer pro?le to look at the customer’s preferences or
 the type of broWser, the country of the individual or the              histories and deploy information to the Web site speci?c to the
 individual’s lP address.A speci?c competitor may be blocked       60 customer.
 from seeing certain objects on a Web page created using the               Another technical advantage of the present invention
 method of the present invention.                                       alloWs for pro?ling. Pro?ling enables control over the arbi
    A critical distinction betWeen the present invention and            trary objects presented in a Web site based on a pro?le of the
 previous object oriented development systems is the need to            individual accessing the Web site. Pro?ling entails determin
 knoW hoW a function can be called and What to expect it to        65   ing different environmental variables such as the type of
 return, rather than just knoWing the function’s name. This             broWser hitting the site, the country of the individual access
 means that typically the system administrator calls the name           ing the site, and/ or the individual’s IP address. This can
                                                                                                                             APP. 247
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                              Page 104 of 107 PageID 1248

                                                        US 7,716,629 B2
                                7                                                                         8
 enable a company to present speci?c information to the indi                11. The system of claim 10, Wherein the executable instruc
 vidual based on the individual’s environmental variables.                tions for caching objects further comprises exectable instruc
   Although the present invention has been described in detail            tions for specifying some elements of an arbitrary object to be
 herein With reference to the illustrative embodiments, it                dynamic elements and specifying some elements of said arbi
 should be understood that the description is by Way of                   trary object to be static elements.
 example only and is not to be construed in a limiting sense. It             12. The system of claim 1, further comprising executable
 is to be further understood, therefore, that numerous changes            instructions for generating arbitrary objects in a program
 in the details of the embodiments of this invention and addi             ming language that is compatible and supported by said host
 tional embodiments of this invention Will be apparent to, and            system.
 may be made by, persons of ordinary skill in the art having                13. A system for generating a Web site on a host system in
 reference to this description. It is contemplated that all such          an arbitrary object frameWork that separates a content of said
 changes and additional embodiments are Within the spirit and             Web site, a form of said Web site, and a functionality of said
 true scope of this invention as claimed beloW.                           Web site, said system including a computer comprising a
    The invention claimed is:                                             processor and a memory operably coupled to said processor,
    1. A system for generating a computer application on a host           said memory being con?gured for storing a computer pro
 system in an arbitrary object framework that separates a con             gram executable by said processor, said computer program
 tent of said computer application, a form of said computer               comprising:
 application, and a functionality of said computer application,             a ?rst set of executable instructions for creating arbitrary
 said system including a computer comprising a processor and                   objects With corresponding arbitrary names of content
 a memory operably coupled to said processor, said memory            20          objects used in generating said content of said Web site,
 being con?gured for storing a computer program executable                       form objects used in de?ning said form of said Web site,
 by said processor, said computer program comprising:                            and function objects used in executing said functionality
   a ?rst set of executable instructions for creating arbitrary                  of said Web site, each arbitrary object being separate
      objects With corresponding arbitrary names of content                      from each other arbitrary object;
      objects used in generating said content of said computer       25     a second set of executable instructions for managing said
      application, form objects used in de?ning said form of                     arbitrary objects in an arbitrary object library; and
      said computer application, and function objects used in               a third set of executable instructions for deploying said
      executing said functionality of said computer applica                      arbitrary objects from said arbitrary object library to a
      tion each arbitrary object being separate from each other                  container page to create said Web site.
      arbitrary object;                                              30
                                                                             14. The system of claim 13, Wherein each of said various
   a second set of executable instructions for managing said              object types include a type selected from the group consisting
      arbitrary objects in an arbitrary object library; and               of: text ?le pointers; binary ?le pointers; compiled
   a third set of executable instructions for deploying said              executables; shell commands; remote procedure calls; global
      arbitrary objects from said arbitrary object library into a         variables; cached executables; cached database queries; local
      design framework to create said computer application.          35
                                                                          variables; and local objects and global parent objects,
   2. The system of claim 1, Wherein said computer applica                Wherein said local objects are capable of overriding said
 tion is a Web site.                                                      global parent objects, and Wherein said local objects are
    3. The system of claim 1, Wherein each of said various                capable of inheriting data from said global parent objects.
 object types include a type selected from the group consisting             15. The system of claim 13, Wherein the third set of execut
 of: text ?le pointers; binary ?le pointers;                         40
                                                                          able instructions are for deploying arbitrary objects locally.
    compiled executables; shell commands; remote procedure                  16. The system of claim 13, Wherein the second set of
       calls; global variables; cached executables; cached data           executable instructions for managing said arbitrary objects
       base queries; local variables; and local objects and glo           further comprises executable instructions for revision track
       bal parent objects, Wherein said local objects are capable
       of overriding said global parent objects, and Wherein         45
                                                                          ing.
       said local objects are capable of inheriting data from said          17. The system of claim 13, Wherein the second set of
      global parent objects.                                              executable instructions for managing said arbitrary objects
   4. The system of claim 1, Wherein the third set of execut              further comprises executable instructions for using rollback.
 able instructions are for deploying arbitrary objects locally.             18. The system of claim 13, Wherein the second set of
   5. The system of claim 1, Wherein the second set of execut        50   executable instructions for managing said arbitrary objects
 able instructions for managing said arbitrary objects further            further comprises executable instructions for using signoff.
 comprises executable instructions for revision tracking.                   19. The system of claim 13, Wherein the third set of execut
   6. The system of claim 1, Wherein the second set of execut             able instructions include instructions to access and deploy
 able instructions for managing said arbitrary objects further            arbitrary objects into said design frameWork using said cor
 comprises executable instructions for using rollback.               55   responding arbitrary names.
   7. The system of claim 1, Wherein the second set of execut               20. The system of claim 19, Wherein the third set of execut
 able instructions for managing said arbitrary objects further            able instructions is capable of accessing and deploying the
 comprises executable instructions for using signoff.                     arbitrary objects into said container page using said corre
    8. The system of claim 1, Wherein the third set of exectable          sponding arbitrary names.
 instructions include instructions to access and deploy arbi         60     21. A system for generating a computer application on a
 trary objects into said design frameWork using said corre                host system in an arbitrary object frameWork that separates a
 sponding arbitrary names.                                                content of said computer application, a form of said computer
    9. The system of claim 1, further comprising executable               application, and a functionality of said computer application,
 instructions for sWapping an arbitrary obj ect of one type With          said system including a computer comprising a processor and
 an arbitrary object of another type.                                65   a memory operably coupled to said processor, said memory
    10. The system of claim 1, further comprising executable              being con?gured for storing a computer program executable
 instructions for caching objects.                                        by said processor, said computer program comprising:
                                                                                                                                APP. 248
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                            Page 105 of 107 PageID 1249

                                                       US 7,716,629 B2
                                                                                                      10
   a ?rst set of executable instructions for creating arbitrary            25. The system of claim 21, Wherein the second set of
      objects With corresponding arbitrary names of content              executable instructions for managing said arbitrary objects
      objects used in generating said content of said computer           further comprises executable instructions for revision track
      application, form objects used in de?ning said form of             ing.
      said computer application, and function objects used in       5      26. The system of claim 21, Wherein the second set of
      executing said functionality of said computer applica              executable instructions for managing said arbitrary objects
      tion, each arbitrary object being callable by name only,           further comprises executable instructions for using rollback.
      each arbitrary object being independently modi?able                  27. The system of claim 21, Wherein the second set of
      Without corresponding modi?cations being made to any               executable instructions for managing said arbitrary objects
      other arbitrary object, and each arbitrary object further          further comprises executable instructions for using signoff.
      being interchangable With other arbitrary objects;                   28. The system of claim 21, Wherein the third set of exect
   a second set of executable instructions for managing said             able instructions include instructions to access and deploy
      arbitrary objects in an arbitrary object library; and              arbitrary objects into said design framework using said cor
   a third set of executable instructions for deploying said             responding arbitrary names.
      arbitrary objects from said arbitrary object library into a           29. The system of claim 21, further comprising executable
      design framework to create said computer application.              instructions for sWapping an arbitrary object of one type With
   22. The system of claim 21, Wherein said computer appli               an arbitrary object of another type.
 cation is a Web site.                                                      30. The system of claim 21, further comprising executable
                                                                         instructions for caching objects.
    23. The system of claim 21, Wherein each of said Various        20     3 1. The system of claim 3 0, Wherein the executable instruc
 object types include a type selected from the group consisting          tions for caching objects further comprises exectable instruc
 of: text ?le pointers; binary ?le pointers; compiled                    tions for specifying some elements of an arbitrary object to be
 executables; shell commands; remote procedure calls; global             dynamic elements and specifying some elements of said arbi
 Variables; cached executables; cached database queries; local           trary object to be static elements.
 Variables; and local objects and global parent objects,                    32. The system of claim 21, further comprising executable
 Wherein said local objects are capable of overriding said               instructions for generating arbitrary objects in a program
 global parent objects, and Wherein said local objects are               ming language that is compatible and supported by said host
 capable of inheriting data from said global parent objects.             system.
   24. The system of claim 21, Wherein the third set of execut
 able instructions are for deploying arbitrary objects locally.




                                                                                                                             APP. 249
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                       Page  106 of 107 PageID 1250
                                                                                        US007716629C1

    (12) EX PARTE REEXAMINATION CERTIFICATE (9366th)
 United States Patent         (10) Number:          US 7,716,629 C1
 McAuley                      (45) Certi?cate Issued:   *Oct. 12, 2012

 (54)   SYSTEM AND METHOD FOR GENERATING                         (52)   US. Cl. ..................................................... .. 717/100
        WEB SITES IN AN ARBITRARY OBJECT                         (58)   Field of Classi?cation Search ...................... .. None
        FRAMEWORK                                                       See application ?le for complete search history.

 (75) Inventor: Aubrey McAuley, Austin, TX (US)                  (56)                      References Cited

 (73) Assignee: Vertical Computer Systems, Inc., Fort            To View the complete listing of prior art documents cited
                Worth, TX (US)                                   during the proceeding for Reexamination Control Number
                                                                 90/009,983, please refer to the USPTO’s public Patent
 Reexamination Request:                                          Application Information Retrieval (PAIR) system under the
      No. 90/009,983, Mar. 5, 2012                               Display References tab.

 Reexamination Certi?cate for:                                   Primary Examiner * Andrew Nalven
        Patent No.:       7,716,629
        Issued:           May 11, 2010                           (57)                         ABSTRACT
        Appl. No.:        10/999,911                             A method and system for generating a computer application
        Filed:            Nov. 29, 2004                          is disclosed. The computer application is generated on a host
                                                                 system in an arbitrary object framework that separates a con
 (*)    Notice:       This patent is subject to a terminal dis   tent of said computer application, a form of said computer
                      claimer.                                   application and a functionality of said computer application.
                                                                 Arbitrary objects are created with corresponding arbitrary
                  Related US. Application Data                   names of Various object types for generating said content of
 (63)   Continuation of application No. 09/410,334, ?led on      said computer application, said form of said computer appli
        Oct. 1, 1999, now Pat. No. 6,826,744.                    cation, and said functionality of said computer application.
                                                                 The arbitrary objects are managed in an object library. The
 (51)   Int. Cl.                                                 arbitrary objects are deployed from said object library into a
        G06F 9/45                (2006.01)                       design framework to create said computer application.




                                             OENERATE ARBITRARY r30
                                                  OBJECTS


                                              MANAGE ARBITRARY
                                                 OBJECTS IN AN                              f32
                                                 OBJECT LIBRARY


                                              DEPLOY ARBITRARY
                                                OBJECTS IN A
                                               mNTAlNER PAGE

                                                       WEB SITE
                                                                                                                                  APP. 250
Case 3:13-cv-03599-N Document 32-3 Filed 01/06/14                                             Page 107 of 107 PageID 1251

                                                       US 7,716,629 Cl
                  1                                                                                     2
              EX PARTE                                                     a third set of executable instructions for deploying said
                                                                              arbitrary objects from said arbitrary object library into a
    REEXAMINATION CERTIFICATE                                                 design framework to create said computer application.
      ISSUED UNDER 35 U.S.C. 307                                           8. The system of claim 1, wherein the third set of [exect
                                                                         able] executable instructions include instructions to access
         THE PATENT IS HEREBY AMENDED AS
                                                                         and deploy arbitrary objects into said design framework using
                                                                         said corresponding arbitrary names.
                 INDICATED BELOW.
                                                                            11. The system of claim 10, wherein the executable instruc
   Matter enclosed in heavy brackets [ ] appeared in the                 tions for caching objects further comprises [exectable]
                                                                         executable instructions for specifying some elements of an
 patent, but has been deleted and is no longer a part of the             arbitrary object to be dynamic elements and specifying some
 patent; matter printed in italics indicates additions made              elements of said arbitrary object to be static elements.
 to the patent.                                                            13. A system for generating a web site on a host system in
                                                                         an arbitrary object framework that separates a content of said
 AS A RESULT OF REEXAMINATION, IT HAS BEEN                               web site, a form of said web site, and a functionality of said
   DETERMINED THAT:                                                      web site, said system including a computer comprising a
                                                                         processor and a memory operably coupled to said processor,
   The patentability of claims 21-26, 29, 30 and 32 is                   said memory being con?gured for storing a computer pro
 con?rmed.                                                               gram executable by said processor, said computer program
    Claims 1, 8, 11, 13, 28 and 31 are determined to be                  comprising;
 patentable as amended.                                             20     a ?rst set of executable instructions for creating arbitrary
   Claims 2-6, 9, 10, 12, 14-17, 19 and 20, dependent on an                   objects with corresponding arbitrary names of content
 amended claim, are determined to be patentable.                              objects used in generating said content of said web site,
   Claims 7, 18 and 27 were not reexamined.                                   form objects used in de?ning said form of said web site,
                                                                              and function objects used in executing said functionality
    1. A system for generating a computer application on a host
                                                                    25        of said web site, each arbitrary object being separate
 system in an arbitrary object framework that separates a con
                                                                              from each other arbitrary object, said arbitrary objects
                                                                              being objects that can be created independently by indi
 tent of said computer application, a form of said computer
                                                                              vidual preference, that are interchangeable, and that
 application, and a functionality of said computer application,
                                                                              may be, but need not be, accessed solely by name, the
 said system including a computer comprising a processor and        30        object being an entity that can haveform, content, or
 a memory operably coupled to said processor, said memory
                                                                             functionality or any combination ofform, content and
 being con?gured for storing a computer program executable
 by said processor, said computer program comprising:
                                                                             functionality;
                                                                           a second set of executable instructions for managing said
   a ?rst set of executable instructions for creating arbitrary
      objects with corresponding arbitrary names of content
                                                                              arbitrary objects in an arbitrary object library; and
                                                                    35     a third set of executable instructions for deploying said
      objects used in generating said content of said computer
                                                                              arbitrary objects from said arbitrary object library to a
      application, form objects used in de?ning said form of
                                                                              container page to create said web site.
      said computer application, and function objects used in
                                                                           28. The system of claim 21, wherein the third set of [exect
      executing said functionality of said computer applica              able] executable instructions include instructions to access
      tion each arbitrary object being separate from each other
      arbitrary object, said arbitrary objects being objects that
                                                                    40   and deploy arbitrary objects into said design framework using
                                                                         said corresponding arbitrary names.
      can be created independently by individual preference,
                                                                           31. The system of claim 30, wherein the executable instruc
      that are interchangeable, and that may be, but need not
      be, accessed solely by name, the object being an entity            tions for caching objects further comprises [exectable]
                                                                         executable instructions for specifying some elements of an
      that can have form, content, or functionality or any          45   arbitrary object to be dynamic elements and specifying some
      combination ofform, content andfunctionality;                      elements of said arbitrary object to be static elements.
   a second set of executable instructions for managing said
      arbitrary objects in an arbitrary object library; and                                     *   *   *   *   *




                                                                                                                              APP. 251
